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          17
          18                            UNITED STATES DISTRICT COURT
                                   FOR THE CENTRAL DISTRICT OF CALIFORNIA
          19                                 SOUTHERN DIVISION
          20        MASIMO CORPORATION,                       CASE NO. 8:20-cv-00048-JVS (JDEx)
                    a Delaware corporation; and
          21        CERCACOR LABORATORIES, INC.,
                    a Delaware corporation,                  DEFENDANT APPLE INC.’S
          22
                                                             AMENDED ANSWER TO PLAINTIFFS’
                                       Plaintiffs,
          23                                                 FOURTH AMENDED COMPLAINT
                          v.
          24
                                                             DEMAND FOR JURY TRIAL
                    APPLE INC.,
          25        a California corporation,                Hon. James V. Selna
          26                           Defendant.
          27
          28                           REDACTED VERSION OF DOCUMENT
                                      PROPOSED TO BE FILED UNDER SEAL
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Crutcher LLP           DEFENDANT APPLE INC.’S AMENDED ANSWER TO PLAINTIFFS’ FOURTH AMENDED COMPLAINT
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            1                                                  ANSWER
            2              Defendant Apple Inc. (“Apple”), by its undersigned counsel, hereby responds to
            3       each of the numbered paragraphs in the Fourth Amended Complaint (“4AC”) filed
            4       against it by Plaintiffs Masimo Corporation and Cercacor Laboratories, Inc.
            5       (collectively, “Plaintiffs”) as follows:
            6                                         GENERAL DENIAL
            7              Except as otherwise expressly admitted in this Answer, Apple denies each and
            8       every allegation contained in the 4AC, including, without limitation, any allegations
            9       contained in the preamble, headings, subheadings, or footnotes of the 4AC, and
          10        specifically denies any liability to Plaintiffs. Pursuant to Rule 8(b) of the Federal Rules
          11        of Civil Procedure, moreover, allegations in the 4AC to which no responsive pleading
          12        is required shall be deemed to be denied. Apple expressly reserves the right to seek to
          13        amend and/or supplement its Answer as may be necessary.1
          14                            RESPONSE TO SPECIFIC ALLEGATIONS
          15               AND NOW, incorporating the foregoing, Apple states as follows in response to
          16        the specific allegations in the 4AC:
          17               1.    Apple lacks knowledge or information sufficient to form a belief about the
          18        truth of the allegations in paragraph 1 of the 4AC, and therefore Apple denies them.
          19               2.    Apple lacks knowledge or information sufficient to form a belief about the
          20        truth of the allegations in paragraph 2 of the 4AC, and therefore Apple denies them.
          21               3.    Apple admits the allegations in paragraph 3 of the 4AC.
          22               4.    Apple admits that the 4AC purports to set forth claims for patent
          23        infringement arising under the patent laws of the United States, 35 U.S.C. §§ 100, et
          24        seq., more particularly, 35 U.S.C. §§ 271 and 281. Apple denies having committed any
          25        act of infringement alleged in the 4AC. Apple admits that the 4AC purports to set forth
          26
          27         1
                       Answers to each paragraph of the 4AC are made by Apple without waiving, but
          28        expressly reserving, all rights Apple may have to seek relief by appropriate motions
                    directed to the allegations in the 4AC or any subsequent amended complaint.
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            1       claims for correction of inventorship of certain United States patents arising under the
            2       patent laws of the United States, more particularly 35 U.S.C. § 256. Apple denies that
            3       any list of inventors on any of its patents or patent applications that are identified in the
            4       4AC is incorrect or incomplete, and further denies that any correction of inventorship is
            5       required. Apple admits that the 4AC purports to set forth a claim for trade secret
            6       misappropriation.      Apple denies having committed any act of trade secret
            7       misappropriation alleged in the 4AC. Apple admits that the 4AC purports to set forth a
            8       declaratory action for ownership of certain patents and patent applications. Apple denies
            9       that anyone other than Apple displays the title to ownership of its patents and patent
          10        applications identified in the 4AC.
          11              5.     Apple admits that this Court has subject matter jurisdiction over claims 1–
          12        12 and 14–18 asserted in the 4AC pursuant to 28 U.S.C. §§ 1331 and 1338(a). With
          13        respect to the remaining allegations and characterizations in paragraph 5 of the 4AC,
          14        Apple lacks knowledge or information sufficient to form a belief about the truth of such
          15        allegations and the associated legal conclusion, and therefore Apple denies them.
          16              6.     Apple admits that its principal place of business is in California and that it
          17        is subject to personal jurisdiction in California. Apple denies having committed any act
          18        complained of in the 4AC, and therefore denies the remaining allegations and
          19        characterizations in paragraph 6 of the 4AC.
          20              7.     Apple admits that it has a regular place of business in the County of Orange
          21        within the Central District of California. Apple denies that the inventive contributions
          22        to its patents and/or patent applications identified in the 4AC took place in the Central
          23        District of California. Apple denies having committed any act complained of in the
          24        4AC, and therefore denies the remaining allegations and characterizations in paragraph
          25        7 of the 4AC.
          26              8.     Apple admits that the 4AC purports to set forth claims against Apple for
          27        trade secret misappropriation, patent infringement, correction of inventorship, and a
          28        declaration of ownership. Apple denies having committed any act complained of in the

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            1       4AC, and therefore denies the remaining allegations and characterizations in paragraph
            2       8 of the 4AC.
            3             9.    To the extent paragraph 9 of the 4AC implicates legal conclusions, no
            4       response is required. To the extent that a response is required, Apple lacks knowledge
            5       or information sufficient to form a belief about the truth of the allegations and
            6       characterizations in paragraph 9 of the 4AC, and therefore Apple denies them.
            7             10.   To the extent paragraph 10 of the 4AC implicates legal conclusions, no
            8       response is required. To the extent that a response is required, Apple lacks knowledge
            9       or information sufficient to form a belief about the truth of the allegations and
          10        characterizations in paragraph 10 of the 4AC, and therefore Apple denies them.
          11              11.   To the extent paragraph 11 of the 4AC implicates legal conclusions, no
          12        response is required. To the extent that a response is required, Apple lacks knowledge
          13        or information sufficient to form a belief about the truth of the allegations and
          14        characterizations in paragraph 11 of the 4AC, and therefore Apple denies them.
          15              12.   To the extent paragraph 12 of the 4AC implicates legal conclusions, no
          16        response is required. To the extent that a response is required, Apple lacks knowledge
          17        or information sufficient to form a belief about the truth of the allegations and
          18        characterizations in paragraph 12 of the 4AC, and therefore Apple denies them.
          19              13.   To the extent paragraph 13 of the 4AC implicates legal conclusions, no
          20        response is required. To the extent that a response is required, Apple lacks knowledge
          21        or information sufficient to form a belief about the truth of the allegations and
          22        characterizations in paragraph 13 of the 4AC, and therefore Apple denies them.
          23              14.   To the extent paragraph 14 of the 4AC implicates legal conclusions, no
          24        response is required. To the extent that a response is required, Apple lacks knowledge
          25        or information sufficient to form a belief about the truth of the allegations and
          26        characterizations in paragraph 14 of the 4AC, and therefore Apple denies them.
          27              15.   To the extent paragraph 15 of the 4AC implicates legal conclusions, no
          28        response is required. To the extent that a response is required, Apple lacks knowledge

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            1       or information sufficient to form a belief about the truth of the allegations and
            2       characterizations in paragraph 15 of the 4AC, and therefore Apple denies them.
            3             16.   To the extent paragraph 16 of the 4AC implicates legal conclusions, no
            4       response is required. To the extent that a response is required, Apple lacks knowledge
            5       or information sufficient to form a belief about the truth of the allegations and
            6       characterizations in paragraph 16 of the 4AC, and therefore Apple denies them.
            7             17.   To the extent paragraph 17 of the 4AC implicates legal conclusions, no
            8       response is required. To the extent that a response is required, Apple lacks knowledge
            9       or information sufficient to form a belief about the truth of the allegations and
          10        characterizations in paragraph 17 of the 4AC, and therefore Apple denies them.
          11              18.   To the extent paragraph 18 of the 4AC implicates legal conclusions, no
          12        response is required. To the extent that a response is required, Apple lacks knowledge
          13        or information sufficient to form a belief about the truth of the allegations and
          14        characterizations in paragraph 18 of the 4AC, and therefore Apple denies them.
          15              19.   To the extent paragraph 19 of the 4AC implicates legal conclusions, no
          16        response is required. To the extent that a response is required, Apple admits that in
          17        2013, representatives of Apple and Masimo held a meeting and that Apple and Masimo
          18        entered into a confidentiality agreement. Apple denies the remaining allegations and
          19        characterizations in paragraph 19 of the 4AC.
          20              20.   To the extent paragraph 20 of the 4AC implicates legal conclusions, no
          21        response is required. To the extent that a response is required, Apple admits that it
          22        employed Michael O’Reilly beginning in July 2013 as its Vice President of Medical
          23        Technology. Apple admits that O’Reilly has assisted with projects related to wellness
          24        and non-invasive measurement of physiological parameters. Apple admits that O’Reilly
          25        met with the FDA on behalf of Apple in or around December 2013 regarding the FDA’s
          26        regulation of consumer products. Apple lacks knowledge or information sufficient to
          27        form a belief about the truth of the remaining allegations and characterizations in
          28        paragraph 20 of the 4AC, and therefore Apple denies them.

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            1             21.    To the extent paragraph 21 of the 4AC implicates legal conclusions, no
            2       response is required. To the extent that a response is required, Apple admits that it hired
            3       Marcelo Lamego in 2014. Apple denies that it “systematically recruited other key
            4       Masimo personnel, such as Marcelo Lamego.” Apple lacks knowledge or information
            5       sufficient to form a belief about the truth of the remaining allegations and
            6       characterizations in paragraph 21 of the 4AC, and therefore Apple denies them.
            7             22.    To the extent paragraph 23 of the 4AC implicates legal conclusions, no
            8       response is required. To the extent that a response is required, Apple lacks knowledge
            9       or information sufficient to form a belief about the truth of the allegations and
          10        characterizations in paragraph 22 of the 4AC, and therefore Apple denies them.
          11              23.    To the extent paragraph 23 of the 4AC implicates legal conclusions, no
          12        response is required. To the extent that a response is required, Apple admits that it
          13        received a letter from Plaintiffs on or around January 24, 2014, containing the language
          14        quoted in paragraph 23 of the 4AC. Apple lacks knowledge or information sufficient to
          15        form a belief about the truth of the remaining allegations and characterizations in
          16        paragraph 23 of the 4AC, and therefore Apple denies them.
          17              24.    To the extent paragraph 24 of the 4AC implicates legal conclusions, no
          18        response is required. To the extent that a response is required, Apple admits that Marcelo
          19        Lamego, after joining Apple, contributed to and was listed as an inventor of certain
          20        patent applications assigned to Apple. Apple denies the remaining allegations and
          21        characterizations in paragraph 24 of the 4AC.
          22              25.    Apple admits that it announced the first version of the Apple Watch in
          23        September 2014, and began shipping its watch in April 2015. Apple admits that the
          24        Apple Watch Series 3 was released on September 22, 2017. Apple admits that the Apple
          25        Watch Series 4 was released on September 12, 2018. Apple admits that the Apple Watch
          26        Series 5 was announced on September 10, 2019, and released on September 20, 2019.
          27        Apple admits that the Apple Watch Series 6 and Series SE were announced on
          28

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            1       September 15, 2020, and released on September 18, 2020. Apple denies the remaining
            2       allegations and characterizations in paragraph 25 of the 4AC.
            3             26.   To the extent paragraph 26 of the 4AC implicates legal conclusions, no
            4       response is required. To the extent that a response is required, Apple lacks knowledge
            5       or information sufficient to form a belief about the truth of the allegations and
            6       characterizations in paragraph 26 of the 4AC, and therefore Apple denies them.
            7             27.   Apple admits that the first page of U.S. Patent No. 10,258,265 displays the
            8       title as “Multi-stream data collection system for noninvasive measurement of blood
            9       constituents,” lists Masimo as the assignee, and lists an issue date of April 16, 2019.
          10        Apple lacks knowledge or information sufficient to form a belief about the truth of the
          11        remaining allegations in paragraph 27 of the 4AC, and therefore Apple denies them.
          12              28.   Apple admits that the first page of U.S. Patent No. 10,292,628 displays the
          13        title as “Multi-stream data collection system for noninvasive measurement of blood
          14        constituents,” lists Masimo as the assignee, and lists an issue date of May 21, 2019.
          15        Apple lacks knowledge or information sufficient to form a belief about the truth of the
          16        remaining allegations in paragraph 28 of the 4AC, and therefore Apple denies them.
          17              29.   Apple admits that the first page of U.S. Patent No. 10,588,553 displays the
          18        title as “Multi-Stream Data Collection System For Noninvasive Measurement of Blood
          19        Constituents,” lists Masimo as the assignee, and lists an issue date of March 17, 2020.
          20        Apple lacks knowledge or information sufficient to form a belief about the truth of the
          21        remaining allegations in paragraph 29 of the 4AC, and therefore Apple denies them.
          22              30.   Apple admits that the first page of U.S. Patent No. 10,588,554 displays the
          23        title as “Multi-Stream Data Collection System For Noninvasive Measurement of Blood
          24        Constituents,” lists Masimo as the assignee, and lists an issue date of March 17, 2020.
          25        Apple lacks knowledge or information sufficient to form a belief about the truth of the
          26        remaining allegations in paragraph 30 of the 4AC, and therefore Apple denies them.
          27              31.   Apple admits that the first page of U.S. Patent No. 10,624,564 displays the
          28        title as “Multi-Stream Data Collection System For Noninvasive Measurement of Blood

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            1       Constituents,” lists Masimo as the assignee, and lists an issue date of April 21, 2020.
            2       Apple lacks knowledge or information sufficient to form a belief about the truth of the
            3       remaining allegations in paragraph 31 of the 4AC, and therefore Apple denies them.
            4             32.    Apple admits that the first page of U.S. Patent No. 10,631,765 displays the
            5       title as “Multi-Stream Data Collection System For Noninvasive Measurement of Blood
            6       Constituents,” lists Masimo as the assignee, and lists an issue date of April 28, 2020.
            7       Apple lacks knowledge or information sufficient to form a belief about the truth of the
            8       remaining allegations in paragraph 32 of the 4AC, and therefore Apple denies them.
            9             33.    Apple admits that the first page of U.S. Patent No. 10,702,194 displays the
          10        title as “Multi-Stream Data Collection System For Noninvasive Measurement of Blood
          11        Constituents,” lists Masimo as the assignee, and lists an issue date of July 7, 2020. Apple
          12        lacks knowledge or information sufficient to form a belief about the truth of the
          13        remaining allegations in paragraph 33 of the 4AC, and therefore Apple denies them.
          14              34.    Apple admits that the first page of U.S. Patent No. 10,702,195 displays the
          15        title as “Multi-Stream Data Collection System For Noninvasive Measurement of Blood
          16        Constituents,” lists Masimo as the assignee, and lists an issue date of July 7, 2020. Apple
          17        lacks knowledge or information sufficient to form a belief about the truth of the
          18        remaining allegations in paragraph 34 of the 4AC, and therefore Apple denies them.
          19              35.    Apple admits that the first page of U.S. Patent No. 10,709,366 displays the
          20        title as “Multi-Stream Data Collection System For Noninvasive Measurement of Blood
          21        Constituents,” lists Masimo as the assignee, and lists an issue date of July 14, 2020.
          22        Apple lacks knowledge or information sufficient to form a belief about the truth of the
          23        remaining allegations in paragraph 35 of the 4AC, and therefore Apple denies them.
          24              36.    Apple admits that the first page of U.S. Patent No. 6,771,994 displays the
          25        title as “Pulse oximeter probe-off detection system,” lists Masimo as the assignee, and
          26        lists an issue date of August 3, 2004. Apple lacks knowledge or information sufficient
          27        to form a belief about the truth of the remaining allegations in paragraph 36 of the 4AC,
          28        and therefore Apple denies them.

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            1             37.      Apple admits that the first page of U.S. Patent No. 8,457,703 displays the
            2       title as “Low power pulse oximeter,” lists Masimo as the assignee, and lists an issue date
            3       of June 4, 2013. Apple lacks knowledge or information sufficient to form a belief about
            4       the truth of the remaining allegations in paragraph 37 of the 4AC, and therefore Apple
            5       denies them.
            6             38.      Apple admits that the first page of U.S. Patent No. 10,433,776 displays the
            7       title as “Low power pulse oximeter,” lists Masimo as the assignee, and lists an issue date
            8       of October 8, 2019. Apple lacks knowledge or information sufficient to form a belief
            9       about the truth of the remaining allegations in paragraph 38 of the 4AC, and therefore
          10        Apple denies them.
          11              39.      To the extent paragraph 39 of the 4AC implicates legal conclusions, no
          12        response is required. To the extent that a response is required, Apple denies the
          13        allegations and characterizations in paragraph 39 of the 4AC.
          14              40.      To the extent paragraph 40 of the 4AC implicates legal conclusions, no
          15        response is required. To the extent that a response is required, Apple lacks knowledge
          16        or information sufficient to form a belief about the truth of the allegations and
          17        characterizations in paragraph 40 of the 4AC, and therefore Apple denies them. Apple
          18        specifically denies that it has committed any acts of trade secret misappropriation.
          19              41.      To the extent paragraph 41 of the 4AC implicates legal conclusions, no
          20        response is required. To the extent that a response is required, Apple lacks knowledge
          21        or information sufficient to form a belief about the truth of the allegations and
          22        characterizations in paragraph 41 of the 4AC, and therefore Apple denies them. Apple
          23        specifically denies that it has committed any acts of trade secret misappropriation.
          24              42.      To the extent paragraph 42 of the 4AC implicates legal conclusions, no
          25        response is required. To the extent that a response is required, Apple lacks knowledge
          26        or information sufficient to form a belief about the truth of the allegations and
          27        characterizations in paragraph 42 of the 4AC, and therefore Apple denies them. Apple
          28        specifically denies that it has committed any acts of trade secret misappropriation.

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            1            43.   To the extent paragraph 43 of the 4AC implicates legal conclusions, no
            2    response is required. To the extent that a response is required, Apple lacks knowledge
            3    or information sufficient to form a belief about the truth of the allegations and
            4    characterizations in paragraph 43 of the 4AC, and therefore Apple denies them. Apple
            5    specifically denies that it has committed any acts of trade secret misappropriation.
            6            44.   In light of the Court’s ruling on Apple’s Motion to Dismiss Portions of the
            7    Thirteenth Cause of Action for Trade Secret Misappropriation in the 4AC, no response
            8    to paragraphs 44.1–44.4 of the 4AC is required. To the extent paragraphs 44.5–44.7 of
            9    the 4AC implicate legal conclusions, no response is required. To the extent that a
          10     response to paragraphs 44.5–44.7 of the 4AC is required, Apple lacks knowledge or
          11     information sufficient to form a belief about the truth of the allegations and
          12     characterizations in paragraph 44.5–44.7 of the 4AC, and therefore Apple denies them.
          13     Apple specifically denies that it has committed any acts of trade secret misappropriation.
          14             45.   To the extent paragraph 45 of the 4AC implicates legal conclusions, no
          15     response is required. To the extent that a response is required, Apple denies the
          16     allegations and characterizations in paragraph 45 of the 4AC. Apple specifically denies
          17     that it has committed any acts of trade secret misappropriation.
          18             46.   This paragraph states a definition to be used in the 4AC to which no
          19     response is required.
          20             47.   Apple admits that U.S. Provisional Patent Application No. 62/043,294
          21     displays the title “Reflective Surface Treatments for Optical Sensors,” lists Marcelo
          22     Lamego as an inventor, and was filed August 28, 2014. Apple admits that U.S. Patent
          23     Application No. 14/740,196 lists Marcelo Lamego as an inventor and issued as U.S.
          24     Patent No. 10,078,052. Apple admits that U.S. Patent Application No. 16/114,003 lists
          25     Marcelo Lamego as an inventor and issued as U.S. Patent No. 10,247,670. Apple lacks
          26     knowledge or information sufficient to form a belief about the truth of the remaining
          27     allegations and characterizations in paragraph 47 of the 4AC, and therefore Apple denies
          28     them.

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            1           48.   Apple admits that U.S. Provisional Patent Application No. 62/047,818
            2    displays the title “Modulation and Demodulation Techniques for a Health Monitoring
            3    System,” lists Marcelo Lamego as an inventor, and was filed September 9, 2014. Apple
            4    admits that U.S. Patent Application No. 14/621,268 lists Marcelo Lamego as an inventor
            5    and issued as U.S. Patent No. 10,219,754. Apple lacks knowledge or information
            6    sufficient to form a belief about the truth of the remaining allegations and
            7    characterizations in paragraph 48 of the 4AC, and therefore Apple denies them.
            8           49.   Apple admits that U.S. Provisional Patent Application No. 62/056,299
            9    displays the title “Electronic Device that Computes Health Data,” lists Marcelo Lamego
          10     as an inventor, and was filed September 26, 2014. Apple admits that U.S. Patent
          11     Application No. 14/617,422 lists Marcelo Lamego as an inventor and issued as U.S.
          12     Patent No. 9,723,997. Apple admits that U.S. Patent Application No. 15/667,832 lists
          13     Marcelo Lamego as an inventor and issued as U.S. Patent No. 10,524,671. Apple admits
          14     that U.S. Patent Application No. 16/700,710 lists Marcelo Lamego as an inventor. Apple
          15     lacks knowledge or information sufficient to form a belief about the truth of the
          16     remaining allegations and characterizations in paragraph 49 of the 4AC, and therefore
          17     Apple denies them.
          18            50.   Apple admits that U.S. Provisional Patent Application No. 62/057,089
          19     displays the title “Methods and Systems for Modulation and Demodulation of Optical
          20     Signals,” lists Marcelo Lamego as an inventor, and was filed September 29, 2014. Apple
          21     admits that U.S. Patent Application No. 14/618,664 lists Marcelo Lamego as an inventor
          22     and issued as U.S. Patent No. 9,952,095. Apple admits that U.S. Patent Application No.
          23     15/960,507 lists Marcelo Lamego as an inventor. Apple lacks knowledge or information
          24     sufficient to form a belief about the truth of the remaining allegations and
          25     characterizations in paragraph 50 of the 4AC, and therefore Apple denies them.
          26            51.   Paragraphs 1–50 of Apple’s Answer are incorporated by reference as if set
          27     forth in full herein; Apple repeats and incorporates its Answer to paragraphs 1–50 of the
          28     4AC.

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            1          52.    To the extent paragraph 52 of the 4AC implicates legal conclusions, no
            2    response is required. To the extent that a response is required, Apple denies the
            3    allegations and characterizations in paragraph 52 of the 4AC, and specifically denies
            4    that it has committed any acts of infringement.
            5          53.    To the extent paragraph 53 of the 4AC implicates legal conclusions, no
            6    response is required. To the extent that a response is required, Apple denies the
            7    allegations and characterizations in paragraph 53 of the 4AC, and specifically denies
            8    that it has committed any acts of infringement.
            9          54.    To the extent paragraph 54 of the 4AC implicates legal conclusions, no
          10     response is required. To the extent that a response is required, Apple denies that the web
          11     page https://www.apple.com/apple-watch-series-4/health/, which is cited in paragraph
          12     54 of the 4AC, currently contains the image shown in paragraph 54 of the 4AC. Apple
          13     denies the remaining allegations and characterizations in paragraph 54 of the 4AC, and
          14     specifically denies that it has committed any acts of infringement.
          15           55.    To the extent paragraph 55 of the 4AC implicates legal conclusions, no
          16     response is required. To the extent that a response is required, Apple denies that the web
          17     page https://support.apple.com/en-us/HT204666, which is cited in paragraph 55 of the
          18     4AC, currently contains the image shown in paragraph 55 of the 4AC. Apple denies the
          19     remaining allegations and characterizations in paragraph 55 of the 4AC, and specifically
          20     denies that it has committed any acts of infringement.
          21           56.    To the extent paragraph 56 of the 4AC implicates legal conclusions, no
          22     response is required. To the extent that a response is required, Apple denies the
          23     allegations and characterizations in paragraph 56 of the 4AC, and specifically denies
          24     that it has committed any acts of infringement.
          25           57.    To the extent paragraph 57 of the 4AC implicates legal conclusions, no
          26     response is required. To the extent that a response is required, Apple admits that U.S.
          27     Patent Application Publication 2019/0072912 contains the image shown in paragraph
          28     57 of the 4AC.      Apple denies the remaining allegations and characterizations in

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            1    paragraph 57 of the 4AC, and specifically denies that it has committed any acts of
            2    infringement.
            3            58.   To the extent paragraph 58 of the 4AC implicates legal conclusions, no
            4    response is required. To the extent that a response is required, Apple admits that the
            5    first page of U.S. Patent No. 10,258,265 lists Marcelo Lamego as an inventor. Apple
            6    lacks knowledge or information sufficient to form a belief as to the truth of the remaining
            7    allegations and characterizations in paragraph 58 of the 4AC, and therefore Apple denies
            8    them.
            9            59.   To the extent paragraph 59 of the 4AC implicates legal conclusions, no
          10     response is required. To the extent that a response is required, Apple denies the
          11     allegations and characterizations in paragraph 59 of the 4AC, and specifically denies
          12     that it has committed any acts of infringement.
          13             60.   To the extent paragraph 60 of the 4AC implicates legal conclusions, no
          14     response is required. To the extent that a response is required, Apple denies the
          15     allegations and characterizations in paragraph 60 of the 4AC, and specifically denies
          16     that it has committed any acts of infringement.
          17             61.   To the extent paragraph 61 of the 4AC implicates legal conclusions, no
          18     response is required. To the extent that a response is required, Apple denies the
          19     allegations and characterizations in paragraph 61 of the 4AC, and specifically denies
          20     that it has committed any acts of infringement.
          21             62.   To the extent paragraph 62 of the 4AC implicates legal conclusions, no
          22     response is required. To the extent that a response is required, Apple denies the
          23     allegations and characterizations in paragraph 62 of the 4AC, and specifically denies
          24     that it has committed any acts of infringement.
          25             63.   To the extent paragraph 63 of the 4AC implicates legal conclusions, no
          26     response is required. To the extent that a response is required, Apple denies the
          27     allegations and characterizations in paragraph 63 of the 4AC, and specifically denies
          28

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            1    that Masimo has suffered or will suffer irreparable harm and injury, including monetary
            2    damages.
            3           64.   To the extent paragraph 64 of the 4AC implicates legal conclusions, no
            4    response is required. To the extent that a response is required, Apple denies the
            5    allegations and characterizations in paragraph 64, and specifically denies that it has
            6    committed or is committing any acts of infringement.
            7           65.   Paragraphs 1–50 of Apple’s Answer are incorporated by reference as if set
            8    forth in full herein; Apple repeats and incorporates its Answer to paragraphs 1–50 of the
            9    4AC.
          10            66.   To the extent paragraph 66 of the 4AC implicates legal conclusions, no
          11     response is required. To the extent that a response is required, Apple denies the
          12     allegations and characterizations in paragraph 66 of the 4AC, and specifically denies
          13     that it has committed any acts of infringement.
          14            67.   To the extent paragraph 67 of the 4AC implicates legal conclusions, no
          15     response is required. To the extent that a response is required, Apple denies the
          16     allegations and characterizations in paragraph 67 of the 4AC, and specifically denies
          17     that it has committed any acts of infringement.
          18            68.   To the extent paragraph 68 of the 4AC implicates legal conclusions, no
          19     response is required. To the extent that a response is required, Apple denies the
          20     allegations and characterizations in paragraph 68 of the 4AC, and specifically denies
          21     that it has committed any acts of infringement.
          22            69.   To the extent paragraph 69 of the 4AC implicates legal conclusions, no
          23     response is required. To the extent that a response is required, Apple admits that U.S.
          24     Patent Application Publication 2019/0072912 contains the image shown in paragraph
          25     69 of the 4AC.     Apple denies the remaining allegations and characterizations in
          26     paragraph 69 of the 4AC, and specifically denies that it has committed any acts of
          27     infringement.
          28

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            1            70.   To the extent paragraph 70 of the 4AC implicates legal conclusions, no
            2    response is required. To the extent that a response is required, Apple denies that the web
            3    page https://support.apple.com/en-us/HT204666, which is cited in paragraph 70 of the
            4    4AC, currently contains the image shown in paragraph 70 of the 4AC. Apple denies the
            5    remaining allegations and characterizations in paragraph 70 of the 4AC, and specifically
            6    denies that it has committed any acts of infringement.
            7            71.   To the extent paragraph 71 of the 4AC implicates legal conclusions, no
            8    response is required. To the extent that a response is required, Apple admits that U.S.
            9    Patent Application Publication 2019/0072912 contains the image shown in paragraph
          10     71 of the 4AC.      Apple denies the remaining allegations and characterizations in
          11     paragraph 71 of the 4AC, and specifically denies that it has committed any acts of
          12     infringement.
          13             72.   To the extent paragraph 72 of the 4AC implicates legal conclusions, no
          14     response is required. To the extent that a response is required, Apple admits that the
          15     first page of U.S. Patent No. 10,292,628 lists Marcelo Lamego as an inventor. Apple
          16     lacks knowledge or information sufficient to form a belief as to the truth of the remaining
          17     allegations and characterizations in paragraph 72 of the 4AC, and therefore Apple denies
          18     them.
          19             73.   To the extent paragraph 73 of the 4AC implicates legal conclusions, no
          20     response is required. To the extent that a response is required, Apple denies the
          21     allegations and characterizations in paragraph 73 of the 4AC, and specifically denies
          22     that it has committed any acts of infringement.
          23             74.   To the extent paragraph 74 of the 4AC implicates legal conclusions, no
          24     response is required. To the extent that a response is required, Apple denies the
          25     allegations and characterizations in paragraph 74 of the 4AC, and specifically denies
          26     that it has committed any acts of infringement.
          27             75.   To the extent paragraph 75 of the 4AC implicates legal conclusions, no
          28     response is required. To the extent that a response is required, Apple denies the

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            1    allegations and characterizations in paragraph 75 of the 4AC, and specifically denies
            2    that it has committed any acts of infringement.
            3           76.   To the extent paragraph 76 of the 4AC implicates legal conclusions, no
            4    response is required. To the extent that a response is required, Apple denies the
            5    allegations and characterizations in paragraph 76 of the 4AC, and specifically denies
            6    that it has committed any acts of infringement.
            7           77.   To the extent paragraph 77 of the 4AC implicates legal conclusions, no
            8    response is required. To the extent that a response is required, Apple denies the
            9    allegations and characterizations in paragraph 77 of the 4AC, and specifically denies
          10     that Masimo has suffered or will suffer irreparable harm and injury, including monetary
          11     damages.
          12            78.   To the extent paragraph 78 of the 4AC implicates legal conclusions, no
          13     response is required. To the extent that a response is required, Apple denies the
          14     allegations and characterizations in paragraph 78, and specifically denies that it has
          15     committed or is committing any acts of infringement.
          16            79.   Paragraphs 1–50 of Apple’s Answer are incorporated by reference as if set
          17     forth in full herein; Apple repeats and incorporates its Answer to paragraphs 1–50 of the
          18     4AC.
          19            80.   To the extent paragraph 80 of the 4AC implicates legal conclusions, no
          20     response is required. To the extent that a response is required, Apple denies the
          21     allegations and characterizations in paragraph 80 of the 4AC, and specifically denies
          22     that it has committed any acts of infringement.
          23            81.   To the extent paragraph 81 of the 4AC implicates legal conclusions, no
          24     response is required. To the extent that a response is required, Apple denies the
          25     allegations and characterizations in paragraph 81 of the 4AC, and specifically denies
          26     that it has committed any acts of infringement.
          27            82.   To the extent paragraph 82 of the 4AC implicates legal conclusions, no
          28     response is required. To the extent that a response is required, Apple denies that the web

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            1    page https://www.apple.com/apple-watch-series-4/health/, which is cited in paragraph
            2    82 of the 4AC, currently contains the image shown in paragraph 82 of the 4AC. Apple
            3    denies the remaining allegations and characterizations in paragraph 82 of the 4AC, and
            4    specifically denies that it has committed any acts of infringement.
            5            83.   To the extent paragraph 83 of the 4AC implicates legal conclusions, no
            6    response is required. To the extent that a response is required, Apple denies that the web
            7    page https://support.apple.com/en-us/HT204666, which is cited in paragraph 83 of the
            8    4AC, currently contains the image shown in paragraph 83 of the 4AC. Apple denies the
            9    remaining allegations and characterizations in paragraph 83 of the 4AC, and specifically
          10     denies that it has committed any acts of infringement.
          11             84.   To the extent paragraph 84 of the 4AC implicates legal conclusions, no
          12     response is required. To the extent that a response is required, Apple denies the
          13     allegations and characterizations in paragraph 84 of the 4AC, and specifically denies
          14     that it has committed any acts of infringement.
          15             85.   To the extent paragraph 85 of the 4AC implicates legal conclusions, no
          16     response is required. To the extent that a response is required, Apple admits that U.S.
          17     Patent Application Publication 2019/0072912 contains the image shown in paragraph
          18     85 of the 4AC.      Apple denies the remaining allegations and characterizations in
          19     paragraph 85 of the 4AC, and specifically denies that it has committed any acts of
          20     infringement.
          21             86.   To the extent paragraph 86 of the 4AC implicates legal conclusions, no
          22     response is required. To the extent that a response is required, Apple admits that the
          23     first page of U.S. Patent No. 10,588,553 lists Marcelo Lamego as an inventor. Apple
          24     lacks knowledge or information sufficient to form a belief as to the truth of the remaining
          25     allegations and characterizations in paragraph 86 of the 4AC, and therefore Apple denies
          26     them.
          27             87.   To the extent paragraph 87 of the 4AC implicates legal conclusions, no
          28     response is required. To the extent that a response is required, Apple denies the

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            1    allegations and characterizations in paragraph 87 of the 4AC, and specifically denies
            2    that it has committed any acts of infringement.
            3           88.   To the extent paragraph 88 of the 4AC implicates legal conclusions, no
            4    response is required. To the extent that a response is required, Apple denies the
            5    allegations and characterizations in paragraph 88 of the 4AC, and specifically denies
            6    that it has committed any acts of infringement.
            7           89.   To the extent paragraph 89 of the 4AC implicates legal conclusions, no
            8    response is required. To the extent that a response is required, Apple denies the
            9    allegations and characterizations in paragraph 89 of the 4AC, and specifically denies
          10     that it has committed any acts of infringement.
          11            90.   To the extent paragraph 90 of the 4AC implicates legal conclusions, no
          12     response is required. To the extent that a response is required, Apple denies the
          13     allegations and characterizations in paragraph 90 of the 4AC, and specifically denies
          14     that it has committed any acts of infringement.
          15            91.   To the extent paragraph 91 of the 4AC implicates legal conclusions, no
          16     response is required. To the extent that a response is required, Apple denies the
          17     allegations and characterizations in paragraph 91 of the 4AC, and specifically denies
          18     that Masimo has suffered or will suffer irreparable harm and injury, including monetary
          19     damages.
          20            92.   To the extent paragraph 92 of the 4AC implicates legal conclusions, no
          21     response is required. To the extent that a response is required, Apple denies the
          22     allegations and characterizations in paragraph 92, and specifically denies that it has
          23     committed or is committing any acts of infringement.
          24            93.   Paragraphs 1–50 of Apple’s Answer are incorporated by reference as if set
          25     forth in full herein; Apple repeats and incorporates its Answer to paragraphs 1–50 of the
          26     4AC.
          27            94.   To the extent paragraph 94 of the 4AC implicates legal conclusions, no
          28     response is required. To the extent that a response is required, Apple denies the

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            1    allegations and characterizations in paragraph 94, and specifically denies that it commits
            2    any acts of infringement.
            3          95.    To the extent paragraph 95 of the 4AC implicates legal conclusions, no
            4    response is required. To the extent that a response is required, Apple denies the
            5    allegations and characterizations in paragraph 95, and specifically denies that it commits
            6    any acts of infringement.
            7          96.    To the extent paragraph 96 of the 4AC implicates legal conclusions, no
            8    response is required. To the extent that a response is required, Apple denies that the web
            9    page https://www.apple.com/apple-watch-series-4/health/, which is cited in paragraph
          10     96 of the 4AC, currently contains the image shown in paragraph 96 of the 4AC. Apple
          11     denies the remaining allegations and characterizations in paragraph 96 of the 4AC, and
          12     specifically denies that it has committed any acts of infringement.
          13           97.    To the extent paragraph 97 of the 4AC implicates legal conclusions, no
          14     response is required. To the extent that a response is required, Apple denies that the web
          15     page https://support.apple.com/en-us/HT204666, which is cited in paragraph 97 of the
          16     4AC, currently contains the image shown in paragraph 97 of the 4AC. Apple denies the
          17     remaining allegations and characterizations in paragraph 97 of the 4AC, and specifically
          18     denies that it has committed any acts of infringement.
          19           98.    To the extent paragraph 98 of the 4AC implicates legal conclusions, no
          20     response is required. To the extent that a response is required, Apple denies the
          21     allegations and characterizations in paragraph 98 of the 4AC, and specifically denies
          22     that it has committed any acts of infringement.
          23           99.    To the extent paragraph 99 of the 4AC implicates legal conclusions, no
          24     response is required. To the extent that a response is required, Apple admits that U.S.
          25     Patent Application Publication 2019/0072912 contains the image shown in paragraph
          26     99 of the 4AC.      Apple denies the remaining allegations and characterizations in
          27     paragraph 99 of the 4AC, and specifically denies that it has committed any acts of
          28     infringement.

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            1          100. To the extent paragraph 100 of the 4AC implicates legal conclusions, no
            2    response is required. To the extent that a response is required, Apple denies that the web
            3    page https://support.apple.com/en-us/HT204666, which is cited in paragraph 100 of the
            4    4AC, currently contains the image shown in paragraph 100 of the 4AC. Apple denies
            5    the remaining allegations and characterizations in paragraph 100 of the 4AC, and
            6    specifically denies that it has committed any acts of infringement.
            7          101. To the extent paragraph 101 of the 4AC implicates legal conclusions, no
            8    response is required. To the extent that a response is required, Apple admits that the
            9    first page of U.S. Patent No. 10,588,554 lists Marcelo Lamego as an inventor. Apple
          10     lacks knowledge or information sufficient to form a belief as to the truth of the remaining
          11     allegations and characterizations in paragraph 101 of the 4AC, and therefore Apple
          12     denies them.
          13           102. To the extent paragraph 102 of the 4AC implicates legal conclusions, no
          14     response is required. To the extent that a response is required, Apple denies the
          15     allegations and characterizations in paragraph 102, and specifically denies that it has
          16     committed any acts of infringement.
          17           103. To the extent paragraph 103 of the 4AC implicates legal conclusions, no
          18     response is required. To the extent that a response is required, Apple denies the
          19     allegations and characterizations in paragraph 103, and specifically denies that it has
          20     committed any acts of infringement.
          21           104. To the extent paragraph 104 of the 4AC implicates legal conclusions, no
          22     response is required. To the extent that a response is required, Apple denies the
          23     allegations and characterizations in paragraph 104, and specifically denies that it has
          24     committed any acts of infringement.
          25           105. To the extent paragraph 105 of the 4AC implicates legal conclusions, no
          26     response is required. To the extent that a response is required, Apple denies the
          27     allegations and characterizations in paragraph 105, and specifically denies that it has
          28     committed any acts of infringement.

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            1           106. To the extent paragraph 106 of the 4AC implicates legal conclusions, no
            2    response is required. To the extent that a response is required, Apple denies the
            3    allegations and characterizations in paragraph 106 of the 4AC, and specifically denies
            4    that Masimo has suffered or will suffer irreparable harm and injury, including monetary
            5    damages.
            6           107. To the extent paragraph 107 of the 4AC implicates legal conclusions, no
            7    response is required. To the extent that a response is required, Apple denies the
            8    allegations and characterizations in paragraph 107, and specifically denies that it has
            9    committed or is committing any acts of infringement.
          10            108. Paragraphs 1–50 of Apple’s Answer are incorporated by reference as if set
          11     forth in full herein; Apple repeats and incorporates its Answer to paragraphs 1–50 of the
          12     4AC.
          13            109. To the extent paragraph 109 of the 4AC implicates legal conclusions, no
          14     response is required. To the extent that a response is required, Apple denies the
          15     allegations and characterizations in paragraph 109, and specifically denies that it
          16     commits any acts of infringement.
          17            110. To the extent paragraph 110 of the 4AC implicates legal conclusions, no
          18     response is required. To the extent that a response is required, Apple denies the
          19     allegations and characterizations in paragraph 110, and specifically denies that it
          20     commits any acts of infringement.
          21            111. To the extent paragraph 111 of the 4AC implicates legal conclusions, no
          22     response is required. To the extent that a response is required, Apple denies that the web
          23     page https://www.apple.com/apple-watch-series-4/health/, which is cited in paragraph
          24     111 of the 4AC, currently contains the image shown in paragraph 111 of the 4AC. Apple
          25     denies the remaining allegations and characterizations in paragraph 111 of the 4AC, and
          26     specifically denies that it has committed any acts of infringement.
          27            112. To the extent paragraph 112 of the 4AC implicates legal conclusions, no
          28     response is required. To the extent that a response is required, Apple denies that the web

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            1    page https://support.apple.com/en-us/HT204666, which is cited in paragraph 112 of the
            2    4AC, currently contains the image shown in paragraph 112 of the 4AC. Apple denies
            3    the remaining allegations and characterizations in paragraph 112 of the 4AC, and
            4    specifically denies that it has committed any acts of infringement.
            5          113. To the extent paragraph 113 of the 4AC implicates legal conclusions, no
            6    response is required. To the extent that a response is required, Apple denies the
            7    allegations and characterizations in paragraph 113 of the 4AC, and specifically denies
            8    that it has committed any acts of infringement.
            9          114. To the extent paragraph 114 of the 4AC implicates legal conclusions, no
          10     response is required. To the extent that a response is required, Apple admits that U.S.
          11     Patent Application Publication 2019/0072912 contains the image shown in paragraph
          12     114 of the 4AC. Apple denies the remaining allegations and characterizations in
          13     paragraph 114 of the 4AC, and specifically denies that it has committed any acts of
          14     infringement.
          15           115. To the extent paragraph 115 of the 4AC implicates legal conclusions, no
          16     response is required. To the extent that a response is required, Apple denies that the web
          17     page https://support.apple.com/en-us/HT204666, which is cited in paragraph 115,
          18     currently contains the image shown in paragraph 115 of the 4AC. Apple denies the
          19     remaining allegations and characterizations in paragraph 115 of the 4AC, and
          20     specifically denies that it has committed any acts of infringement.
          21           116. To the extent paragraph 116 of the 4AC implicates legal conclusions, no
          22     response is required. To the extent that a response is required, Apple admits that the
          23     web page https://support.apple.com/guide/watch/change-languageorientation-apple-
          24     watch-apd0bf18f46b/watchos, which is cited in paragraph 116 of the 4AC, currently
          25     describes configuring the orientation of the Apple Watch. Apple denies the remaining
          26     allegations and characterizations in paragraph 116 of the 4AC, and specifically denies
          27     that it has committed any acts of infringement.
          28

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            1          117. To the extent paragraph 117 of the 4AC implicates legal conclusions, no
            2    response is required. To the extent that a response is required, Apple admits that the
            3    first page of U.S. Patent No. 10,624,564 lists Marcelo Lamego as an inventor. Apple
            4    lacks knowledge or information sufficient to form a belief as to the truth of the remaining
            5    allegations and characterizations in paragraph 117 of the 4AC, and therefore Apple
            6    denies them.
            7          118. To the extent paragraph 118 of the 4AC implicates legal conclusions, no
            8    response is required. To the extent that a response is required, Apple denies the
            9    allegations and characterizations in paragraph 118, and specifically denies that it has
          10     committed any acts of infringement.
          11           119. To the extent paragraph 119 of the 4AC implicates legal conclusions, no
          12     response is required. To the extent that a response is required, Apple denies the
          13     allegations and characterizations in paragraph 119, and specifically denies that it has
          14     committed any acts of infringement.
          15           120. To the extent paragraph 120 of the 4AC implicates legal conclusions, no
          16     response is required. To the extent that a response is required, Apple denies the
          17     allegations and characterizations in paragraph 120, and specifically denies that it has
          18     committed any acts of infringement.
          19           121. To the extent paragraph 121 of the 4AC implicates legal conclusions, no
          20     response is required. To the extent that a response is required, Apple denies the
          21     allegations and characterizations in paragraph 121, and specifically denies that it has
          22     committed any acts of infringement.
          23           122. To the extent paragraph 122 of the 4AC implicates legal conclusions, no
          24     response is required. To the extent that a response is required, Apple denies the
          25     allegations and characterizations in paragraph 122 of the 4AC, and specifically denies
          26     that Masimo has suffered or will suffer irreparable harm and injury, including monetary
          27     damages.
          28

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            1           123. To the extent paragraph 123 of the 4AC implicates legal conclusions, no
            2    response is required. To the extent that a response is required, Apple denies the
            3    allegations and characterizations in paragraph 123, and specifically denies that it has
            4    committed or is committing any acts of infringement.
            5           124. Paragraphs 1–50 of Apple’s Answer are incorporated by reference as if set
            6    forth in full herein; Apple repeats and incorporates its Answer to paragraphs 1–50 of the
            7    4AC.
            8           125. To the extent paragraph 125 of the 4AC implicates legal conclusions, no
            9    response is required. To the extent that a response is required, Apple denies the
          10     allegations and characterizations in paragraph 125, and specifically denies that it has
          11     committed any acts of infringement.
          12            126. To the extent paragraph 126 of the 4AC implicates legal conclusions, no
          13     response is required. To the extent that a response is required, Apple denies the
          14     allegations and characterizations in paragraph 126, and specifically denies that it has
          15     committed any acts of infringement.
          16            127. To the extent paragraph 127 of the 4AC implicates legal conclusions, no
          17     response is required. To the extent that a response is required, Apple denies that the web
          18     page https://www.apple.com/apple-watch-series-4/health/, which is cited in paragraph
          19     127 of the 4AC, currently contains the image shown in paragraph 127 of the 4AC. Apple
          20     denies the remaining allegations and characterizations in paragraph 127 of the 4AC, and
          21     specifically denies that it has committed any acts of infringement.
          22            128. To the extent paragraph 128 of the 4AC implicates legal conclusions, no
          23     response is required. To the extent that a response is required, Apple denies that the web
          24     page https://support.apple.com/en-us/HT204666, which is cited in paragraph 128 of the
          25     4AC, currently contains the image shown in paragraph 128 of the 4AC. Apple denies
          26     the remaining allegations and characterizations in paragraph 128 of the 4AC, and
          27     specifically denies that it has committed any acts of infringement.
          28

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            1          129. To the extent paragraph 129 of the 4AC implicates legal conclusions, no
            2    response is required. To the extent that a response is required, Apple denies the
            3    allegations and characterizations in paragraph 129 of the 4AC, and specifically denies
            4    that it has committed any acts of infringement.
            5          130. To the extent paragraph 130 of the 4AC implicates legal conclusions, no
            6    response is required. To the extent that a response is required, Apple admits that U.S.
            7    Patent Application Publication 2019/0072912 contains the image shown in paragraph
            8    130 of the 4AC. Apple denies the remaining allegations and characterizations in
            9    paragraph 130 of the 4AC, and specifically denies that it has committed any acts of
          10     infringement.
          11           131. To the extent paragraph 131 of the 4AC implicates legal conclusions, no
          12     response is required. To the extent that a response is required, Apple denies that the web
          13     page https://support.apple.com/en-us/HT204666, which is cited in paragraph 131 of the
          14     4AC, currently contains the image shown in paragraph 131 of the 4AC. Apple denies
          15     the remaining allegations and characterizations in paragraph 131 of the 4AC, and
          16     specifically denies that it has committed any acts of infringement.
          17           132. To the extent paragraph 132 of the 4AC implicates legal conclusions, no
          18     response is required. To the extent that a response is required, Apple admits that the
          19     first page of U.S. Patent No. 10,631,765 lists Marcelo Lamego as an inventor. Apple
          20     lacks knowledge or information sufficient to form a belief as to the truth of the remaining
          21     allegations and characterizations in paragraph 132 of the 4AC, and therefore Apple
          22     denies them.
          23           133. To the extent paragraph 133 of the 4AC implicates legal conclusions, no
          24     response is required. To the extent that a response is required, Apple denies the
          25     allegations and characterizations in paragraph 133, and specifically denies that it has
          26     committed any acts of infringement.
          27           134. To the extent paragraph 134 of the 4AC implicates legal conclusions, no
          28     response is required. To the extent that a response is required, Apple denies the

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            1    allegations and characterizations in paragraph 134, and specifically denies that it has
            2    committed any acts of infringement.
            3           135. To the extent paragraph 135 of the 4AC implicates legal conclusions, no
            4    response is required. To the extent that a response is required, Apple denies the
            5    allegations and characterizations in paragraph 135, and specifically denies that it has
            6    committed any acts of infringement.
            7           136. To the extent paragraph 136 of the 4AC implicates legal conclusions, no
            8    response is required. To the extent that a response is required, Apple denies the
            9    allegations and characterizations in paragraph 136, and specifically denies that it has
          10     committed any acts of infringement.
          11            137. To the extent paragraph 137 of the 4AC implicates legal conclusions, no
          12     response is required. To the extent that a response is required, Apple denies the
          13     allegations and characterizations in paragraph 137 of the 4AC, and specifically denies
          14     that Masimo has suffered or will suffer irreparable harm and injury, including monetary
          15     damages.
          16            138. To the extent paragraph 138 of the 4AC implicates legal conclusions, no
          17     response is required. To the extent that a response is required, Apple denies the
          18     allegations and characterizations in paragraph 138, and specifically denies that it has
          19     committed or is committing any acts of infringement.
          20            139. Paragraphs 1–50 of Apple’s Answer are incorporated by reference as if set
          21     forth in full herein; Apple repeats and incorporates its Answer to paragraphs 1–50 of the
          22     4AC.
          23            140. To the extent paragraph 140 of the 4AC implicates legal conclusions, no
          24     response is required. To the extent that a response is required, Apple denies the
          25     allegations and characterizations in paragraph 140, and specifically denies that it has
          26     committed any acts of infringement.
          27            141. To the extent paragraph 141 of the 4AC implicates legal conclusions, no
          28     response is required. To the extent that a response is required, Apple denies the

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            1    allegations and characterizations in paragraph 141, and specifically denies that it has
            2    committed any acts of infringement.
            3          142. To the extent paragraph 142 of the 4AC implicates legal conclusions, no
            4    response is required. To the extent that a response is required, Apple denies that the web
            5    page https://www.apple.com/apple-watch-series-4/health/, which is cited in paragraph
            6    142 of the 4AC, currently contains the image shown in paragraph 142 of the 4AC. Apple
            7    denies the remaining allegations and characterizations in paragraph 142 of the 4AC, and
            8    specifically denies that it has committed any acts of infringement.
            9          143. To the extent paragraph 143 of the 4AC implicates legal conclusions, no
          10     response is required. To the extent that a response is required, Apple denies that the web
          11     page https://support.apple.com/en-us/HT204666, which is cited in paragraph 143 of the
          12     4AC, currently contains the image shown in paragraph 143 of the 4AC. Apple denies
          13     the remaining allegations and characterizations in paragraph 143 of the 4AC, and
          14     specifically denies that it has committed any acts of infringement.
          15           144. To the extent paragraph 144 of the 4AC implicates legal conclusions, no
          16     response is required. To the extent that a response is required, Apple denies the
          17     allegations and characterizations in paragraph 144, and specifically denies that it
          18     commits any acts of infringement.
          19           145. To the extent paragraph 145 of the 4AC implicates legal conclusions, no
          20     response is required. To the extent that a response is required, Apple admits that U.S.
          21     Patent Application Publication 2019/0072912 contains the image shown in paragraph
          22     145 of the 4AC. Apple denies the remaining allegations and characterizations in
          23     paragraph 145 of the 4AC, and specifically denies that it has committed any acts of
          24     infringement.
          25           146. To the extent paragraph 146 of the 4AC implicates legal conclusions, no
          26     response is required. To the extent that a response is required, Apple denies that the web
          27     page https://support.apple.com/en-us/HT204666, which is cited in paragraph 146 of the
          28     4AC, currently contains the image shown in paragraph 146 of the 4AC. Apple denies

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            1    the remaining allegations and characterizations in paragraph 146 of the 4AC, and
            2    specifically denies that it has committed any acts of infringement.
            3          147. To the extent paragraph 147 of the 4AC implicates legal conclusions, no
            4    response is required. To the extent that a response is required, Apple admits that the
            5    first page of U.S. Patent No. 10,702,194 lists Marcelo Lamego as an inventor. Apple
            6    lacks knowledge or information sufficient to form a belief as to the truth of the remaining
            7    allegations and characterizations in paragraph 147 of the 4AC, and therefore Apple
            8    denies them.
            9          148. To the extent paragraph 148 of the 4AC implicates legal conclusions, no
          10     response is required. To the extent that a response is required, Apple denies the
          11     allegations and characterizations in paragraph 148, and specifically denies that it has
          12     committed any acts of infringement.
          13           149. To the extent paragraph 149 of the 4AC implicates legal conclusions, no
          14     response is required. To the extent that a response is required, Apple denies the
          15     allegations and characterizations in paragraph 149, and specifically denies that it has
          16     committed any acts of infringement.
          17           150. To the extent paragraph 150 of the 4AC implicates legal conclusions, no
          18     response is required. To the extent that a response is required, Apple denies the
          19     allegations and characterizations in paragraph 150, and specifically denies that it has
          20     committed any acts of infringement.
          21           151. To the extent paragraph 151 of the 4AC implicates legal conclusions, no
          22     response is required. To the extent that a response is required, Apple denies the
          23     allegations and characterizations in paragraph 151, and specifically denies that it has
          24     committed any acts of infringement.
          25           152. To the extent paragraph 152 of the 4AC implicates legal conclusions, no
          26     response is required. To the extent that a response is required, Apple denies the
          27     allegations and characterizations in paragraph 152 of the 4AC, and specifically denies
          28     that Masimo has suffered or will suffer irreparable harm and injury, including monetary

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            1    damages.
            2           153. To the extent paragraph 153 of the 4AC implicates legal conclusions, no
            3    response is required. To the extent that a response is required, Apple denies the
            4    allegations and characterizations in paragraph 153, and specifically denies that it has
            5    committed or is committing any acts of infringement.
            6           154. Paragraphs 1–50 of Apple’s Answer are incorporated by reference as if set
            7    forth in full herein; Apple repeats and incorporates its Answer to paragraphs 1–50 of the
            8    4AC.
            9           155. To the extent paragraph 155 of the 4AC implicates legal conclusions, no
          10     response is required. To the extent that a response is required, Apple denies the
          11     allegations and characterizations in paragraph 155, and specifically denies that it has
          12     committed any acts of infringement.
          13            156. To the extent paragraph 156 of the 4AC implicates legal conclusions, no
          14     response is required. To the extent that a response is required, Apple denies the
          15     allegations and characterizations in paragraph 156, and specifically denies that it has
          16     committed any acts of infringement.
          17            157. To the extent paragraph 157 of the 4AC implicates legal conclusions, no
          18     response is required. To the extent that a response is required, Apple denies that the web
          19     page https://www.apple.com/apple-watch-series-4/health/, which is cited in paragraph
          20     157 of the 4AC, currently contains the image shown in paragraph 157 of the 4AC. Apple
          21     denies the remaining allegations and characterizations in paragraph 157 of the 4AC, and
          22     specifically denies that it has committed any acts of infringement.
          23            158. To the extent paragraph 158 of the 4AC implicates legal conclusions, no
          24     response is required. To the extent that a response is required, Apple denies that the web
          25     page https://support.apple.com/en-us/HT204666, which is cited in paragraph 158 of the
          26     4AC, currently contains the image shown in paragraph 158 of the 4AC. Apple denies
          27     the remaining allegations and characterizations in paragraph 158 of the 4AC, and
          28     specifically denies that it has committed any acts of infringement.

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            1          159. To the extent paragraph 159 of the 4AC implicates legal conclusions, no
            2    response is required. To the extent that a response is required, Apple admits that U.S.
            3    Patent Application Publication 2019/0072912 contains the image shown in paragraph
            4    159 of the 4AC. Apple denies the remaining allegations and characterizations in
            5    paragraph 159 of the 4AC, and specifically denies that it has committed any acts of
            6    infringement.
            7          160. To the extent paragraph 160 of the 4AC implicates legal conclusions, no
            8    response is required. To the extent that a response is required, Apple admits that the
            9    first page of U.S. Patent No. 10,702,195 lists Marcelo Lamego as an inventor. Apple
          10     lacks knowledge or information sufficient to form a belief as to the truth of the remaining
          11     allegations and characterizations in paragraph 160 of the 4AC, and therefore Apple
          12     denies them.
          13           161. To the extent paragraph 161 of the 4AC implicates legal conclusions, no
          14     response is required. To the extent that a response is required, Apple denies the
          15     allegations and characterizations in paragraph 161, and specifically denies that it has
          16     committed any acts of infringement.
          17           162. To the extent paragraph 162 of the 4AC implicates legal conclusions, no
          18     response is required. To the extent that a response is required, Apple denies the
          19     allegations and characterizations in paragraph 162, and specifically denies that it has
          20     committed any acts of infringement.
          21           163. To the extent paragraph 163 of the 4AC implicates legal conclusions, no
          22     response is required. To the extent that a response is required, Apple denies the
          23     allegations and characterizations in paragraph 163, and specifically denies that it has
          24     committed any acts of infringement.
          25           164. To the extent paragraph 164 of the 4AC implicates legal conclusions, no
          26     response is required. To the extent that a response is required, Apple denies the
          27     allegations and characterizations in paragraph 164, and specifically denies that it has
          28     committed any acts of infringement.

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            1           165. To the extent paragraph 165 of the 4AC implicates legal conclusions, no
            2    response is required. To the extent that a response is required, Apple denies the
            3    allegations and characterizations in paragraph 165 of the 4AC, and specifically denies
            4    that Masimo has suffered or will suffer irreparable harm and injury, including monetary
            5    damages.
            6           166. To the extent paragraph 166 of the 4AC implicates legal conclusions, no
            7    response is required. To the extent that a response is required, Apple denies the
            8    allegations and characterizations in paragraph 166, and specifically denies that it has
            9    committed or is committing any acts of infringement.
          10            167. Paragraphs 1–50 of Apple’s Answer are incorporated by reference as if set
          11     forth in full herein; Apple repeats and incorporates its Answer to paragraphs 1–50 of the
          12     4AC.
          13            168. To the extent paragraph 168 of the 4AC implicates legal conclusions, no
          14     response is required. To the extent that a response is required, Apple denies the
          15     allegations and characterizations in paragraph 168, and specifically denies that it has
          16     committed any acts of infringement.
          17            169. To the extent paragraph 169 of the 4AC implicates legal conclusions, no
          18     response is required. To the extent that a response is required, Apple denies the
          19     allegations and characterizations in paragraph 169, and specifically denies that it has
          20     committed any acts of infringement.
          21            170. To the extent paragraph 170 of the 4AC implicates legal conclusions, no
          22     response is required. To the extent that a response is required, Apple denies that the web
          23     page https://www.apple.com/apple-watch-series-4/health/, which is cited in paragraph
          24     170 of the 4AC, currently contains the image shown in paragraph 170 of the 4AC. Apple
          25     denies the remaining allegations and characterizations in paragraph 170 of the 4AC, and
          26     specifically denies that it has committed any acts of infringement.
          27            171. To the extent paragraph 171 of the 4AC implicates legal conclusions, no
          28     response is required. To the extent that a response is required, Apple denies that the web

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            1    page https://support.apple.com/en-us/HT204666, which is cited in paragraph 171 of the
            2    4AC, currently contains the image shown in paragraph 171 of the 4AC. Apple denies
            3    the remaining allegations and characterizations in paragraph 171 of the 4AC, and
            4    specifically denies that it has committed any acts of infringement.
            5          172. To the extent paragraph 172 of the 4AC implicates legal conclusions, no
            6    response is required. To the extent that a response is required, Apple admits that U.S.
            7    Patent Application Publication 2019/0072912 contains the image shown in paragraph
            8    172 of the 4AC. Apple denies the remaining allegations and characterizations in
            9    paragraph 172 of the 4AC, and specifically denies that it has committed any acts of
          10     infringement.
          11           173. To the extent paragraph 173 of the 4AC implicates legal conclusions, no
          12     response is required. To the extent that a response is required, Apple admits that the
          13     first page of U.S. Patent No. 10,709,366 lists Marcelo Lamego as an inventor. Apple
          14     lacks knowledge or information sufficient to form a belief as to the truth of the remaining
          15     allegations and characterizations in paragraph 173 of the 4AC, and therefore Apple
          16     denies them.
          17           174. To the extent paragraph 174 of the 4AC implicates legal conclusions, no
          18     response is required. To the extent that a response is required, Apple denies the
          19     allegations and characterizations in paragraph 174, and specifically denies that it has
          20     committed any acts of infringement.
          21           175. To the extent paragraph 175 of the 4AC implicates legal conclusions, no
          22     response is required. To the extent that a response is required, Apple denies the
          23     allegations and characterizations in paragraph 175, and specifically denies that it has
          24     committed any acts of infringement.
          25           176. To the extent paragraph 176 of the 4AC implicates legal conclusions, no
          26     response is required. To the extent that a response is required, Apple denies the
          27     allegations and characterizations in paragraph 176, and specifically denies that it has
          28     committed any acts of infringement.

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            1           177. To the extent paragraph 177 of the 4AC implicates legal conclusions, no
            2    response is required. To the extent that a response is required, Apple denies the
            3    allegations and characterizations in paragraph 177, and specifically denies that it has
            4    committed any acts of infringement.
            5           178. To the extent paragraph 178 of the 4AC implicates legal conclusions, no
            6    response is required. To the extent that a response is required, Apple denies the
            7    allegations and characterizations in paragraph 178 of the 4AC, and specifically denies
            8    that Masimo has suffered or will suffer irreparable harm and injury, including monetary
            9    damages.
          10            179. To the extent paragraph 179 of the 4AC implicates legal conclusions, no
          11     response is required. To the extent that a response is required, Apple denies the
          12     allegations and characterizations in paragraph 179, and specifically denies that it has
          13     committed or is committing any acts of infringement.
          14            180. Paragraphs 1–50 of Apple’s Answer are incorporated by reference as if set
          15     forth in full herein; Apple repeats and incorporates its Answer to paragraphs 1–50 of the
          16     4AC.
          17            181. To the extent paragraph 181 of the 4AC implicates legal conclusions, no
          18     response is required. To the extent that a response is required, Apple denies the
          19     allegations and characterizations in paragraph 181, and specifically denies that it has
          20     committed any acts of infringement.
          21            182. To the extent paragraph 182 of the 4AC implicates legal conclusions, no
          22     response is required. To the extent that a response is required, Apple denies the
          23     allegations and characterizations in paragraph 182, and specifically denies that it has
          24     committed any acts of infringement.
          25            183. To the extent paragraph 183 of the 4AC implicates legal conclusions, no
          26     response is required. To the extent that a response is required, Apple denies that the web
          27     page https://www.apple.com/apple-watch-series-4/health/, which is cited in paragraph
          28     183 of the 4AC, currently contains the image shown in paragraph 183 of the 4AC. Apple

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            1    denies the remaining allegations and characterizations in paragraph 183 of the 4AC, and
            2    specifically denies that it has committed any acts of infringement.
            3          184. To the extent paragraph 184 of the 4AC implicates legal conclusions, no
            4    response is required. To the extent that a response is required, Apple denies that the web
            5    page https://support.apple.com/en-us/HT204666, which is cited in paragraph 194 of the
            6    4AC, currently contains the image shown in paragraph 184 of the 4AC. Apple denies
            7    the remaining allegations and characterizations in paragraph 184 of the 4AC, and
            8    specifically denies that it has committed any acts of infringement.
            9          185. To the extent paragraph 185 of the 4AC implicates legal conclusions, no
          10     response is required. To the extent that a response is required, Apple denies the
          11     allegations and characterizations in paragraph 185 of the 4AC, and specifically denies
          12     that it has committed any acts of infringement.
          13           186. To the extent paragraph 186 of the 4AC implicates legal conclusions, no
          14     response is required. To the extent that a response is required, Apple admits that U.S.
          15     Patent Application Publication 2019/0090806 contains the image shown in paragraph
          16     186 of the 4AC. Apple denies the remaining allegations and characterizations in
          17     paragraph 186 of the 4AC, and specifically denies that it has committed any acts of
          18     infringement.
          19           187. To the extent paragraph 187 of the 4AC implicates legal conclusions, no
          20     response is required. To the extent that a response is required, Apple admits that the
          21     first page of U.S. Patent No. 6,771,994 lists an issue date of August 3, 2004. Apple
          22     lacks knowledge or information sufficient to form a belief as to the truth of the remaining
          23     allegations and characterizations in paragraph 187 of the 4AC, and therefore Apple
          24     denies them.
          25           188. To the extent paragraph 188 of the 4AC implicates legal conclusions, no
          26     response is required. To the extent that a response is required, Apple denies the
          27     allegations and characterizations in paragraph 188, and specifically denies that it has
          28     committed any acts of infringement.

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            1           189. To the extent paragraph 189 of the 4AC implicates legal conclusions, no
            2    response is required. To the extent that a response is required, Apple denies the
            3    allegations and characterizations in paragraph 189, and specifically denies that it has
            4    committed any acts of infringement.
            5           190. To the extent paragraph 190 of the 4AC implicates legal conclusions, no
            6    response is required. To the extent that a response is required, Apple denies the
            7    allegations and characterizations in paragraph 190, and specifically denies that it has
            8    committed any acts of infringement.
            9           191. To the extent paragraph 191 of the 4AC implicates legal conclusions, no
          10     response is required. To the extent that a response is required, Apple denies the
          11     allegations and characterizations in paragraph 191, and specifically denies that it has
          12     committed any acts of infringement.
          13            192. To the extent paragraph 192 of the 4AC implicates legal conclusions, no
          14     response is required. To the extent that a response is required, Apple denies the
          15     allegations and characterizations in paragraph 192 of the 4AC, and specifically denies
          16     that Masimo has suffered or will suffer irreparable harm and injury, including monetary
          17     damages.
          18            193. To the extent paragraph 193 of the 4AC implicates legal conclusions, no
          19     response is required. To the extent that a response is required, Apple denies the
          20     allegations and characterizations in paragraph 193, and specifically denies that it has
          21     committed or is committing any acts of infringement.
          22            194. Paragraphs 1–50 of Apple’s Answer are incorporated by reference as if set
          23     forth in full herein; Apple repeats and incorporates its Answer to paragraphs 1–50 of the
          24     4AC.
          25            195. To the extent paragraph 195 of the 4AC implicates legal conclusions, no
          26     response is required. To the extent that a response is required, Apple denies the
          27     allegations and characterizations in paragraph 195, and specifically denies that it has
          28     committed any acts of infringement.

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            1          196. To the extent paragraph 196 of the 4AC implicates legal conclusions, no
            2    response is required. To the extent that a response is required, Apple denies the
            3    allegations and characterizations in paragraph 196, and specifically denies that it has
            4    committed any acts of infringement.
            5          197. To the extent paragraph 197 of the 4AC implicates legal conclusions, no
            6    response is required. To the extent that a response is required, Apple denies that the web
            7    page https://www.apple.com/apple-watch-series-4/health/, which is cited in paragraph
            8    197 of the 4AC, currently contains the image shown in paragraph 197 of the 4AC. Apple
            9    denies the remaining allegations and characterizations in paragraph 197 of the 4AC, and
          10     specifically denies that it has committed any acts of infringement.
          11           198. To the extent paragraph 198 of the 4AC implicates legal conclusions, no
          12     response is required. To the extent that a response is required, Apple denies that the web
          13     page https://support.apple.com/en-us/HT204666, which is cited in paragraph 198 of the
          14     4AC, currently contains the image shown in paragraph 198 of the 4AC. Apple denies
          15     the remaining allegations and characterizations in paragraph 198 of the 4AC, and
          16     specifically denies that it has committed any acts of infringement.
          17           199. To the extent paragraph 199 of the 4AC implicates legal conclusions, no
          18     response is required. To the extent that a response is required, Apple denies the
          19     allegations and characterizations in paragraph 199 of the 4AC, and specifically denies
          20     that it has committed any acts of infringement.
          21           200. To the extent paragraph 200 of the 4AC implicates legal conclusions, no
          22     response is required. To the extent that a response is required, Apple admits that an
          23     Apple web page https://support.apple.com/en-us/HT204666, states as follows:
          24           The optical heart sensor in Apple Watch uses what is known as
          25           photoplethysmography. This technology, while difficult to pronounce, is
          26           based on a very simple fact: Blood is red because it reflects red light and
          27           absorbs green light. Apple Watch uses green LED lights paired with
          28           light‑sensitive photodiodes to detect the amount of blood flowing through

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            1          your wrist at any given moment.
            2          When your heart beats, the blood flow in your wrist — and the green light
            3          absorption — is greater. Between beats, it’s less. By flashing its LED lights
            4          hundreds of times per second, Apple Watch can calculate the number of
            5          times the heart beats each minute — your heart rate. The optical heart
            6          sensor supports a range of 30–210 beats per minute. In addition, the optical
            7          heart sensor is designed to compensate for low signal levels by increasing
            8          both LED brightness and sampling rate.
            9    Apple denies the remaining allegations and characterizations in paragraph 200 of the
          10     4AC, and specifically denies that it has committed any acts of infringement.
          11           201. To the extent paragraph 201 of the 4AC implicates legal conclusions, no
          12     response is required. To the extent that a response is required, Apple denies the
          13     allegations and characterizations in paragraph 201, and specifically denies that it has
          14     committed any acts of infringement.
          15           202. To the extent paragraph 202 of the 4AC implicates legal conclusions, no
          16     response is required. To the extent that a response is required, Apple admits that the
          17     first page of U.S. Patent No. 8,457,703 lists an issue date of June 4, 2013. Apple lacks
          18     knowledge or information sufficient to form a belief as to the truth of the remaining
          19     allegations and characterizations in paragraph 202 of the 4AC, and therefore Apple
          20     denies them.
          21           203. To the extent paragraph 203 of the 4AC implicates legal conclusions, no
          22     response is required. To the extent that a response is required, Apple denies the
          23     allegations and characterizations in paragraph 203, and specifically denies that it has
          24     committed any acts of infringement.
          25           204. To the extent paragraph 204 of the 4AC implicates legal conclusions, no
          26     response is required. To the extent that a response is required, Apple denies the
          27     allegations and characterizations in paragraph 204, and specifically denies that it has
          28     committed any acts of infringement.

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            1           205. To the extent paragraph 205 of the 4AC implicates legal conclusions, no
            2    response is required. To the extent that a response is required, Apple denies the
            3    allegations and characterizations in paragraph 205, and specifically denies that it has
            4    committed any acts of infringement.
            5           206. To the extent paragraph 206 of the 4AC implicates legal conclusions, no
            6    response is required. To the extent that a response is required, Apple denies the
            7    allegations and characterizations in paragraph 206, and specifically denies that it has
            8    committed any acts of infringement.
            9           207. To the extent paragraph 207 of the 4AC implicates legal conclusions, no
          10     response is required. To the extent that a response is required, Apple denies the
          11     allegations and characterizations in paragraph 207 of the 4AC, and specifically denies
          12     that Masimo has suffered or will suffer irreparable harm and injury, including monetary
          13     damages.
          14            208. To the extent paragraph 208 of the 4AC implicates legal conclusions, no
          15     response is required. To the extent that a response is required, Apple denies the
          16     allegations and characterizations in paragraph 208, and specifically denies that it has
          17     committed or is committing any acts of infringement.
          18            209. Paragraphs 1–50 of Apple’s Answer are incorporated by reference as if set
          19     forth in full herein; Apple repeats and incorporates its Answer to paragraphs 1–50 of the
          20     4AC.
          21            210. To the extent paragraph 210 of the 4AC implicates legal conclusions, no
          22     response is required. To the extent that a response is required, Apple denies the
          23     allegations and characterizations in paragraph 210, and specifically denies that it has
          24     committed any acts of infringement.
          25            211. To the extent paragraph 211 of the 4AC implicates legal conclusions, no
          26     response is required. To the extent that a response is required, Apple denies the
          27     allegations and characterizations in paragraph 211, and specifically denies that it has
          28     committed any acts of infringement.

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            1          212. To the extent paragraph 212 of the 4AC implicates legal conclusions, no
            2    response is required. To the extent that a response is required, Apple denies that the web
            3    page https://www.apple.com/apple-watch-series-4/health/, which is cited in paragraph
            4    197 of the 4AC, currently contains the image shown in paragraph 212 of the 4AC. Apple
            5    denies the remaining allegations and characterizations in paragraph 212 of the 4AC, and
            6    specifically denies that it has committed any acts of infringement.
            7          213. To the extent paragraph 213 of the 4AC implicates legal conclusions, no
            8    response is required. To the extent that a response is required, Apple denies that the web
            9    page https://support.apple.com/en-us/HT204666, which is cited in paragraph 198 of the
          10     4AC, currently contains the image shown in paragraph 213 of the 4AC. Apple denies
          11     the remaining allegations and characterizations in paragraph 213 of the 4AC, and
          12     specifically denies that it has committed any acts of infringement.
          13           214. To the extent paragraph 214 of the 4AC implicates legal conclusions, no
          14     response is required. To the extent that a response is required, Apple admits that an
          15     Apple web page https://support.apple.com/en-us/HT204666, states as follows:
          16           Apple Watch uses green LED lights paired with light‑sensitive photodiodes
          17           to detect the amount of blood flowing through your wrist at any given
          18           moment.
          19           When your heart beats, the blood flow in your wrist — and the green light
          20           absorption — is greater. Between beats, it’s less. By flashing its LED lights
          21           hundreds of times per second, Apple Watch can calculate the number of
          22           times the heart beats each minute — your heart rate. The optical heart sensor
          23           supports a range of 30–210 beats per minute. In addition, the optical heart
          24           sensor is designed to compensate for low signal levels by increasing both
          25           LED brightness and sampling rate.
          26     Apple admits that an Apple web page https://support.apple.com/en-us/HT204666, states
          27     as follows:
          28

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            1           The optical heart sensor can also use infrared light. This mode is what
            2           Apple Watch uses when it measures your heart rate in the background, and
            3           for heart rate notifications. Apple Watch uses green LED lights to measure
            4           your heart rate during workouts and Breathe sessions, and to calculate
            5           walking average and Heart Rate Variability (HRV).
            6    Apple denies the remaining allegations and characterizations in paragraph 214 of the
            7    4AC.
            8           215. To the extent paragraph 215 of the 4AC implicates legal conclusions, no
            9    response is required. To the extent that a response is required, Apple denies the
          10     allegations and characterizations in paragraph 215, and specifically denies that it has
          11     committed any acts of infringement.
          12            216. To the extent paragraph 216 of the 4AC implicates legal conclusions, no
          13     response is required. To the extent that a response is required, Apple denies that U.S.
          14     Patent No. 10,433,776 lists an issue date of June 4, 2013. Apple lacks knowledge or
          15     information sufficient to form a belief as to the truth of the remaining allegations and
          16     characterizations in paragraph 216 of the 4AC, and therefore Apple denies them.
          17            217. To the extent paragraph 217 of the 4AC implicates legal conclusions, no
          18     response is required. To the extent that a response is required, Apple denies the
          19     allegations and characterizations in paragraph 217, and specifically denies that it has
          20     committed any acts of infringement.
          21            218. To the extent paragraph 218 of the 4AC implicates legal conclusions, no
          22     response is required. To the extent that a response is required, Apple denies the
          23     allegations and characterizations in paragraph 218, and specifically denies that it has
          24     committed any acts of infringement.
          25            219. To the extent paragraph 219 of the 4AC implicates legal conclusions, no
          26     response is required. To the extent that a response is required, Apple denies the
          27     allegations and characterizations in paragraph 219, and specifically denies that it has
          28     committed any acts of infringement.

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            1           220. To the extent paragraph 220 of the 4AC implicates legal conclusions, no
            2    response is required. To the extent that a response is required, Apple denies the
            3    allegations and characterizations in paragraph 220, and specifically denies that it has
            4    committed any acts of infringement.
            5           221. To the extent paragraph 221 of the 4AC implicates legal conclusions, no
            6    response is required. To the extent that a response is required, Apple denies the
            7    allegations and characterizations in paragraph 221 of the 4AC, and specifically denies
            8    that Masimo has suffered or will suffer irreparable harm and injury, including monetary
            9    damages.
          10            222. To the extent paragraph 222 of the 4AC implicates legal conclusions, no
          11     response is required. To the extent that a response is required, Apple denies the
          12     allegations and characterizations in paragraph 222, and specifically denies that it has
          13     committed or is committing any acts of infringement.
          14            223. Paragraphs 1–50 of Apple’s Answer are incorporated by reference as if set
          15     forth in full herein; Apple repeats and incorporates its Answer to paragraphs 1–50 of the
          16     4AC.
          17            224. To the extent paragraph 224 of the 4AC implicates legal conclusions, no
          18     response is required. To the extent that a response is required, Apple denies the
          19     allegations and characterizations in paragraph 224 of the 4AC, and specifically denies
          20     that it has committed any acts of trade secret misappropriation.
          21            225. To the extent paragraph 225 of the 4AC implicates legal conclusions, no
          22     response is required. To the extent that a response is required, Apple lacks knowledge
          23     or information sufficient to form a belief as to the truth of the allegations and
          24     characterizations in paragraph 225 of the 4AC, and therefore Apple denies them.
          25            226. To the extent paragraph 226 of the 4AC implicates legal conclusions, no
          26     response is required. To the extent that a response is required, Apple lacks knowledge
          27     or information sufficient to form a belief as to the truth of the allegations and
          28     characterizations in paragraph 226 of the 4AC, and therefore Apple denies them.

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            1          227. To the extent paragraph 227 of the 4AC implicates legal conclusions, no
            2    response is required. To the extent that a response is required, Apple lacks knowledge
            3    or information sufficient to form a belief as to the truth of the allegations and
            4    characterizations in paragraph 227 of the 4AC, and therefore Apple denies them.
            5          228. To the extent paragraph 228 of the 4AC implicates legal conclusions, no
            6    response is required. To the extent that a response is required, Apple denies the
            7    allegations and characterizations in paragraph 228 of the 4AC, and specifically denies
            8    that it has committed any acts of trade secret misappropriation.
            9          229. To the extent paragraph 229 of the 4AC implicates legal conclusions, no
          10     response is required. To the extent that a response is required, Apple admits that it
          11     received a letter from Plaintiffs on or around January 24, 2014, containing the language
          12     quoted in paragraph 229 of the 4AC. Apple denies the remaining allegations and
          13     characterizations in paragraph 229 of the 4AC.
          14           230. To the extent paragraph 230 of the 4AC implicates legal conclusions, no
          15     response is required. To the extent that a response is required, Apple denies that it
          16     “systematically hired Plaintiffs’ employees.” Apple admits that Tim Cook has publicly
          17     commented on Apple’s general commitment to health and wellness, that Apple
          18     employed Michael O’Reilly beginning in July 2013 as its Vice President of Medical
          19     Technology, and that Tim Cook briefly met with O’Reilly before he was hired. Except
          20     as otherwise admitted, Apple denies the allegations and characterizations in paragraph
          21     230 of the 4AC, and specifically denies that it has committed any acts of trade secret
          22     misappropriation.
          23           231. To the extent paragraph 231 of the 4AC implicates legal conclusions, no
          24     response is required. To the extent that a response is required, Apple admits that it hired
          25     Marcelo Lamego in 2014. Apple admits that it received a letter from Plaintiffs on or
          26     around January 24, 2014, a copy of which can be found at ECF 38-5. Except as
          27     otherwise admitted, Apple denies the allegations and characterizations in paragraph 231
          28

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            1    of the 4AC, and specifically denies that it has committed any acts of trade secret
            2    misappropriation.
            3          232. To the extent paragraph 232 of the 4AC implicates legal conclusions, no
            4    response is required. To the extent that a response is required, Apple denies the
            5    allegations and characterizations in paragraph 232 of the 4AC and specifically denies
            6    that it has committed any acts of trade secret misappropriation.
            7          233. To the extent paragraph 233 of the 4AC implicates legal conclusions, no
            8    response is required. To the extent that a response is required, Apple denies the
            9    allegations and characterizations in paragraph 233 of the 4AC, and specifically denies
          10     that it has committed any acts of trade secret misappropriation.
          11           234. To the extent paragraph 234 of the 4AC implicates legal conclusions, no
          12     response is required. To the extent that a response is required, Apple denies that all of
          13     the alleged trade secret information in paragraph 234 of the 4AC is “not generally
          14     known.” Apple lacks knowledge or information sufficient to form a belief as to the truth
          15     of the remaining allegations and characterizations in paragraph 234 of the 4AC, and
          16     therefore Apple denies them.
          17           235. To the extent paragraph 235 of the 4AC implicates legal conclusions, no
          18     response is required. To the extent that a response is required, Apple admits that
          19     Provisional Patent Application No. 62/047,818 was filed on September 9, 2014. Apple
          20     admits that U.S. Patent Application No. 14/621,268 is titled “Modulation and
          21     Demodulation Techniques for a Health Monitoring System” and was issued on March
          22     5, 2019 as U.S. Patent No. 10,219,754. Apple denies the remaining allegations and
          23     characterizations in paragraph 235 of the 4AC, and specifically denies that it has
          24     committed any acts of trade secret misappropriation.
          25           236. To the extent paragraph 236 of the 4AC implicates legal conclusions, no
          26     response is required. To the extent that a response is required, Apple admits that the
          27     first page of U.S. Patent No. 10,219,754 lists Marcelo Lamego as an inventor and is
          28     presently recorded as owned by Apple. Apple further admits that U.S. Patent No.

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            1    10,219,754 does not list any inventors other than Marcelo Lamego. Except as otherwise
            2    admitted, Apple denies the allegations and characterizations in paragraph 236 of the
            3    4AC and specifically denies that it has committed any acts of trade secret
            4    misappropriation.
            5          237. To the extent paragraph 237 of the 4AC implicates legal conclusions, no
            6    response is required. To the extent that a response is required, Apple denies that all of
            7    the alleged trade secret information in paragraph 237 of the 4AC is “not generally
            8    known.” Apple lacks knowledge or information sufficient to form a belief as to the truth
            9    of the remaining allegations and characterizations in paragraph 237 of the 4AC, and
          10     therefore Apple denies them.
          11           238. To the extent paragraph 238 of the 4AC implicates legal conclusions, no
          12     response is required. To the extent that a response is required, Apple denies the
          13     allegations and characterizations in paragraph 238 of the 4AC, and specifically denies
          14     that it has committed any acts of trade secret misappropriation.
          15           239. To the extent paragraph 239 of the 4AC implicates legal conclusions, no
          16     response is required. To the extent that a response is required, Apple admits that the
          17     pictures, which are cited in paragraph 239 of the 4AC, appear to be of the Apple Watch
          18     Series 5. Apple denies the remaining allegations and characterizations in paragraph 239
          19     of the 4AC.
          20           240. To the extent paragraph 240 of the 4AC implicates legal conclusions, no
          21     response is required. To the extent that a response is required, Apple admits that the
          22     pictures, which are cited in paragraph 240 of the 4AC, appear to be of the Apple Watch
          23     Series 6. Apple denies the remaining allegations and characterizations in paragraph 240
          24     of the 4AC.
          25           241. To the extent paragraph 241 of the 4AC implicates legal conclusions, no
          26     response is required. To the extent that a response is required, Apple admits that Marcelo
          27     Lamego worked on the Apple Watch. Except as otherwise admitted, Apple denies the
          28

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            1    allegations and characterizations in paragraph 241 of the 4AC and specifically denies
            2    that it has committed any acts of trade secret misappropriation.
            3          242. To the extent paragraph 242 of the 4AC implicates legal conclusions, no
            4    response is required. To the extent that a response is required, Apple denies that all of
            5    the alleged trade secret information in paragraph 242 of the 4AC is “not generally
            6    known.” Apple lacks knowledge or information sufficient to form a belief as to the truth
            7    of the remaining allegations and characterizations in paragraph 242 of the 4AC, and
            8    therefore Apple denies them.
            9          243. To the extent paragraph 243 of the 4AC implicates legal conclusions, no
          10     response is required. To the extent that a response is required, Apple admits that
          11     Provisional Patent Application No. 62/056,299 was filed on September 26, 2014. Apple
          12     admits that U.S. Application No. 14/617,422 is titled “Electronic Device That Computes
          13     Health Data” and was issued on August 8, 2017 as U.S. Patent No. 9,723,997. Apple
          14     admits that U.S. Application No. 15/667,832 is titled “Electronic Device That Computes
          15     Health Data” and was published December on 14, 2017. Apple admits that U.S.
          16     Application No. 15/667,832 issued on January 7, 2020 as U.S. Patent No. 10,524,671.
          17     Apple denies the remaining allegations and characterizations in paragraph 243 of the
          18     4AC, and specifically denies that it has committed any acts of trade secret
          19     misappropriation.
          20           244. To the extent paragraph 244 of the 4AC implicates legal conclusions, no
          21     response is required. To the extent that a response is required, Apple admits that Marcelo
          22     Lamego worked on the Apple Watch, that the first page of U.S. Patent No. 9,723,997
          23     lists Marcelo Lamego as an inventor and is presently recorded as owned by Apple, that
          24     the first page of U.S. Patent No. 10,524,671 also lists Marcelo Lamego as an inventor
          25     and is presently recorded as owned by Apple, and that U.S. Patent Nos. 9,723,997 and
          26     10,524,671 do not list any inventors other than Marcelo Lamego. Except as otherwise
          27     admitted, Apple denies the allegations and characterizations in paragraph 244 of the
          28

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            1    4AC and specifically denies that it has committed any acts of trade secret
            2    misappropriation.
            3          245. To the extent paragraph 245 of the 4AC implicates legal conclusions, no
            4    response is required. To the extent that a response is required, Apple denies that all of
            5    the alleged trade secret information in paragraph 245 of the 4AC is “not generally
            6    known.” Apple lacks knowledge or information sufficient to form a belief as to the truth
            7    of the remaining allegations and characterizations in paragraph 245 of the 4AC, and
            8    therefore Apple denies them.
            9          246. To the extent paragraph 246 of the 4AC implicates legal conclusions, no
          10     response is required. To the extent that a response is required, Apple admits that it
          11     employed Michael O’Reilly beginning in July 2013 as its Vice President of Medical
          12     Technology. Apple admits that the web page https://www.apple.com/healthcare/apple-
          13     watch/ contains the language “Apple Watch. Helping your patients identify early
          14     warning signs.” Apple admits that the web page https://www.apple.com/watch/ contains
          15     the language “The future of health is on your wrist.” Apple admits that the web page
          16     https://www.apple.com/healthcare/ contains the remaining language quoted in
          17     paragraph 246 of the 4AC. Apple denies the remaining allegations and characterizations
          18     in paragraph 246 of the 4AC, and specifically denies that it has committed any acts of
          19     trade secret misappropriation.
          20           247. To the extent paragraph 247 of the 4AC implicates legal conclusions, no
          21     response is required. To the extent that a response is required, Apple admits that it
          22     employed Michael O’Reilly beginning in July 2013 as its Vice President of Medical
          23     Technology, that O’Reilly has met with the FDA in his capacity as an Apple employee,
          24     that Tim Cook briefly met with O’Reilly before he was hired, and that Tim Cook has
          25     publicly commented on Apple’s general commitment to health and wellness. Except as
          26     otherwise admitted, Apple denies the allegations and characterizations in paragraph 247
          27     of the 4AC, and specifically denies that it has committed any acts of trade secret
          28     misappropriation.

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            1          248. In light of the Court’s ruling granting in part and denying in part Apple’s
            2    Motion to Dismiss Portions of the Thirteenth Cause of Action for Trade Secret
            3    Misappropriation in the 4AC, no response to paragraph 248 of the 4AC is required.
            4          249. To the extent paragraph 249 of the 4AC implicates legal conclusions, no
            5    response is required. To the extent a response is required, Apple lacks knowledge or
            6    information sufficient to form a belief as to the truth of the allegations and
            7    characterizations in paragraph 249 of the 4AC, and therefore Apple denies them.
            8          250. In light of the Court’s ruling granting in part and denying in part Apple’s
            9    Motion to Dismiss Portions of the Thirteenth Cause of Action for Trade Secret
          10     Misappropriation in the 4AC, no response to paragraph 250 of the 4AC is required.
          11           251. In light of the Court’s ruling granting in part and denying in part Apple’s
          12     Motion to Dismiss Portions of the Thirteenth Cause of Action for Trade Secret
          13     Misappropriation in the 4AC, no response to paragraph 251 of the 4AC is required.
          14           252. To the extent paragraph 252 of the 4AC implicates legal conclusions, no
          15     response is required. To the extent that a response is required, Apple admits that it
          16     employed Michael O’Reilly beginning in July 2013 as its Vice President of Medical
          17     Technology. Apple admits that on September 15, 2020 it announced the launch of health
          18     research studies with the University of California Irvine, the University of Toronto, and
          19     the University of Washington to measure blood oxygen and other parameters with the
          20     Apple Watch. Apple denies the remaining allegations and characterizations in paragraph
          21     252 of the 4AC, and specifically denies that it has committed any acts of trade secret
          22     misappropriation.
          23           253. To the extent paragraph 253 of the 4AC implicates legal conclusions, no
          24     response is required. In light of the Court’s ruling granting in part and denying in part
          25     Apple’s Motion to Dismiss Portions of the Thirteenth Cause of Action for Trade Secret
          26     Misappropriation in the 4AC, no response to paragraph 253 of the 4AC is required to
          27     the extent this paragraph relates to trade secrets 44.1-44.4, which were dismissed. To
          28     the extent that a response is required, Apple admits that it employed Michael O’Reilly

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            1    beginning in July 2013 as its Vice President of Medical Technology, that O’Reilly has
            2    met with the FDA in his capacity as an Apple employee, that Tim Cook briefly met with
            3    Michael O’Reilly before he was hired, and that Tim Cook has publicly commented on
            4    Apple’s general commitment to health and wellness. Except as otherwise admitted,
            5    Apple denies the allegations and characterizations in paragraph 253 of the 4AC, and
            6    specifically denies that it has committed any acts of trade secret misappropriation.
            7          254. To the extent paragraph 254 of the 4AC implicates legal conclusions, no
            8    response is required. To the extent that a response is required, Apple lacks knowledge
            9    or information sufficient to form a belief as to the truth of the allegations and
          10     characterizations in paragraph 254 of the 4AC, and therefore Apple denies them.
          11           255. To the extent paragraph 255 of the 4AC implicates legal conclusions, no
          12     response is required. To the extent that a response is required, Apple admits that the
          13     Apple Watch Series 6 includes a blood oxygen sensor, which uses multiple wavelengths
          14     to calculate oxygen saturation. Apple lacks knowledge or information sufficient to form
          15     a belief as to the truth of the allegations regarding Plaintiffs’ interactions with O’Reilly
          16     and Lamego. Apple otherwise denies the allegations and characterizations in paragraph
          17     255 of the 4AC, and specifically denies that it has committed any acts of trade secret
          18     misappropriation.
          19           256. To the extent paragraph 256 of the 4AC implicates legal conclusions, no
          20     response is required. To the extent that a response is required, Apple denies the
          21     allegations and characterizations in paragraph 256 of the 4AC, and specifically denies
          22     that it has committed any acts of trade secret misappropriation.
          23           257. To the extent paragraph 257 of the 4AC implicates legal conclusions, no
          24     response is required. To the extent that a response is required, Apple denies the
          25     allegations and characterizations in paragraph 257 of the 4AC, and specifically denies
          26     that it has committed any acts of trade secret misappropriation.
          27           258. To the extent paragraph 258 of the 4AC implicates legal conclusions, no
          28     response is required. To the extent that a response is required, Apple denies the

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            1    allegations and characterizations in paragraph 258 of the 4AC, and specifically denies
            2    that it has committed any acts of trade secret misappropriation.
            3          259. To the extent paragraph 259 of the 4AC implicates legal conclusions, no
            4    response is required. To the extent that a response is required, Apple denies the
            5    allegations and characterizations in paragraph 259 of the 4AC, and specifically denies
            6    that it has committed any acts of trade secret misappropriation.
            7          260. To the extent paragraph 260 of the 4AC implicates legal conclusions, no
            8    response is required. To the extent that a response is required, Apple admits that it
            9    employed Michael O’Reilly beginning in July 2013 as its Vice President of Medical
          10     Technology, and that Tim Cook briefly met with O’Reilly before he was hired. Except
          11     as otherwise admitted, Apple denies the allegations and characterizations in paragraph
          12     260 of the 4AC, and specifically denies that it has committed any acts of trade secret
          13     misappropriation.
          14           261. To the extent paragraph 261 of the 4AC implicates legal conclusions, no
          15     response is required. To the extent that a response is required, Apple denies the
          16     allegations and characterizations in paragraph 261 of the 4AC, and specifically denies
          17     that it has committed any acts of trade secret misappropriation.
          18           262. To the extent paragraph 262 of the 4AC implicates legal conclusions, no
          19     response is required. To the extent that a response is required, Apple admits that the
          20     Apple Watch Series 4 was announced on September 12, 2018. Apple admits that on
          21     September 15, 2020 it announced the launch of health research studies with the
          22     University of California Irvine, the University of Toronto, and the University of
          23     Washington to measure blood oxygen and other parameters with the Apple Watch.
          24     Apple denies the remaining allegations and characterizations in paragraph 262 of the
          25     4AC, and specifically denies that it has committed any acts of trade secret
          26     misappropriation.
          27           263. To the extent paragraph 263 of the 4AC implicates legal conclusions, no
          28     response is required. To the extent that a response is required, Apple admits that it

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            1    received a letter from Plaintiffs on or around January 24, 2014, a copy of which can be
            2    found at ECF 38-5, and that it requested non-publication of U.S. Patent Application Nos.
            3    14/621,268, 14/617,422, and 14/618,664. Apple denies the remaining allegations and
            4    characterizations in paragraph 263 of the 4AC, and specifically denies that it has
            5    committed any acts of trade secret misappropriation.
            6           264. To the extent paragraph 264 of the 4AC implicates legal conclusions, no
            7    response is required. To the extent that a response is required, Apple denies the
            8    allegations and characterizations in paragraph 264 of the 4AC, and specifically denies
            9    that Plaintiffs have suffered or will suffer irreparable harm and injury, including
          10     monetary damages.
          11            265. To the extent paragraph 265 of the 4AC implicates legal conclusions, no
          12     response is required. To the extent that a response is required, Apple denies the
          13     allegations and characterizations in paragraph 265 of the 4AC, and specifically denies
          14     that it has committed or is committing any acts of trade secret misappropriation.
          15            266. To the extent paragraph 266 of the 4AC implicates legal conclusions, no
          16     response is required. To the extent that a response is required, Apple denies the
          17     allegations and characterizations in paragraph 266 of the 4AC, and specifically denies
          18     that it has committed or is committing any acts of trade secret misappropriation.
          19            267. To the extent paragraph 266 of the 4AC implicates legal conclusions, no
          20     response is required. To the extent that a response is required, Apple denies the
          21     allegations and characterizations in paragraph 266 of the 4AC, and specifically denies
          22     that it has committed or is committing any acts of trade secret misappropriation,
          23     including that it purportedly has done so willfully or maliciously.
          24            268. Paragraphs 1–50 of Apple’s Answer are incorporated by reference as if set
          25     forth in full herein; Apple repeats and incorporates its Answer to paragraphs 1–50 of the
          26     4AC.
          27            269. Apple admits that the first page of U.S. Patent No. 10,078,052 lists Marcelo
          28     Lamego as an inventor and is presently recorded as owned by Apple.

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            1           270. To the extent paragraph 270 of the 4AC implicates legal conclusions, no
            2    response is required. To the extent that a response is required, Apple admits that the
            3    first claim of U.S. Patent No. 10,078,052 reads as follows:
            4           An electronic device comprising: a housing defining an aperture; an optical
            5           sensing system comprising: a light emitter for emitting light through the
            6           aperture, the light emitter positioned adjacent the aperture; and a light
            7           detector for obtaining a first portion of the light after the first portion of the
            8           light reflects from an object; and a reflector disposed about the aperture and
            9           adapted to reflect a second portion of the light back into the object after the
          10            second portion of the light reflects from the object.
          11     Apple denies the remaining allegations and characterizations in paragraph 270 of the
          12     4AC.
          13            271. To the extent paragraph 271 of the 4AC implicates legal conclusions, no
          14     response is required. To the extent that a response is required, Apple lacks knowledge
          15     or information sufficient to form a belief as to the truth of the allegations and
          16     characterizations in paragraph 271 of the 4AC, and therefore Apple denies them.
          17            272. To the extent paragraph 272 of the 4AC implicates legal conclusions, no
          18     response is required. To the extent that a response is required, Apple lacks knowledge
          19     or information sufficient to form a belief as to the truth of the allegations and
          20     characterizations in paragraph 272 of the 4AC, and therefore Apple denies them.
          21            273. To the extent paragraph 273 of the 4AC implicates legal conclusions, no
          22     response is required. To the extent that a response is required, Apple admits that an
          23     agreement between Marcelo Lamego and Cercacor is attached as Exhibit A to Apple’s
          24     Motion to Dismiss (ECF 16-3).             Apple denies the remaining allegations and
          25     characterizations in paragraph 273 of the 4AC.
          26            274. To the extent paragraph 274 of the 4AC implicates legal conclusions, no
          27     response is required. To the extent that a response is required, Apple denies the
          28     allegations and characterizations in paragraph 274 of the 4AC.

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            1           275. Paragraphs 1–50 of Apple’s Answer are incorporated by reference as if set
            2    forth in full herein; Apple repeats and incorporates its Answer to paragraphs 1–50 of the
            3    4AC.
            4           276. Apple admits that the first page of U.S. Patent No. 10,247,670 lists Marcelo
            5    Lamego as an inventor and is presently recorded as owned by Apple.
            6           277. To the extent paragraph 277 of the 4AC implicates legal conclusions, no
            7    response is required. To the extent that a response is required, Apple admits that the
            8    first claim of U.S. Patent No. 10,247,670 reads as follows:
            9           An electronic device comprising: a housing with a surface; a reflective layer
          10            that is formed on the surface, wherein the reflective layer has first and
          11            second openings; a light emitter that emits light through the first opening;
          12            and a light detector that receives the light emitted by the light emitter
          13            through the second opening.
          14     Apple denies the remaining allegations and characterizations in paragraph 277 of the
          15     4AC.
          16            278. To the extent paragraph 278 of the 4AC implicates legal conclusions, no
          17     response is required. To the extent that a response is required, Apple lacks knowledge
          18     or information sufficient to form a belief as to the truth of the allegations and
          19     characterizations in paragraph 278 of the 4AC, and therefore Apple denies them.
          20            279. To the extent paragraph 279 of the 4AC implicates legal conclusions, no
          21     response is required. To the extent that a response is required, Apple lacks knowledge
          22     or information sufficient to form a belief as to the truth of the allegations and
          23     characterizations in paragraph 279 of the 4AC, and therefore Apple denies them.
          24            280. To the extent paragraph 280 of the 4AC implicates legal conclusions, no
          25     response is required. To the extent that a response is required, Apple admits that an
          26     agreement between Marcelo Lamego and Cercacor is attached as Exhibit A to Apple’s
          27     Motion to Dismiss (ECF 16-3).           Apple denies the remaining allegations and
          28     characterizations in paragraph 280 of the 4AC.

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            1           281. To the extent paragraph 281 of the 4AC implicates legal conclusions, no
            2    response is required. To the extent that a response is required, Apple denies the
            3    allegations and characterizations in paragraph 281 of the 4AC.
            4           282. Paragraphs 1–50 of Apple’s Answer are incorporated by reference as if set
            5    forth in full herein; Apple repeats and incorporates its Answer to paragraphs 1–50 of the
            6    4AC.
            7           283. Apple admits that the first page of U.S. Patent No. 9,952,095 lists Marcelo
            8    Lamego as an inventor and is presently recorded as owned by Apple.
            9           284. To the extent paragraph 284 of the 4AC implicates legal conclusions, no
          10     response is required. To the extent that a response is required, Apple admits that the
          11     first claim of U.S. Patent No. 9,952,095 reads as follows:
          12            An electronic device comprising: a housing comprising a surface adapted
          13            to be positioned proximate a measurement site of a subject; a biometric
          14            sensor positioned at least partially within the surface and comprising: a
          15            plurality of light sources for emitting light toward the measurement site at
          16            a selected modulation frequency; and an optical sensor for obtaining light
          17            exiting the measurement site; and an input amplifier coupled to the output
          18            of the biometric sensor and disposed within the housing; a high pass filter
          19            coupled to an output of the input amplifier and disposed within the housing,
          20            the high pass filter having a cutoff frequency above that of a periodic
          21            biometric property of the measurement site; an output amplifier coupled to
          22            an output of the high pass filter and disposed within the housing; and an
          23            analog to digital converter coupled to an output of the output amplifier and
          24            disposed within the housing.
          25     Apple denies the remaining allegations and characterizations in paragraph 284 of the
          26     4AC.
          27            285. To the extent paragraph 285 of the 4AC implicates legal conclusions, no
          28     response is required. To the extent that a response is required, Apple lacks knowledge

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            1    or information sufficient to form a belief as to the truth of the allegations and
            2    characterizations in paragraph 285 of the 4AC, and therefore Apple denies them.
            3           286. To the extent paragraph 286 of the 4AC implicates legal conclusions, no
            4    response is required. To the extent that a response is required, Apple lacks knowledge
            5    or information sufficient to form a belief as to the truth of the allegations and
            6    characterizations in paragraph 286 of the 4AC, and therefore Apple denies them.
            7           287. To the extent paragraph 287 of the 4AC implicates legal conclusions, no
            8    response is required. To the extent that a response is required, Apple admits that an
            9    agreement between Marcelo Lamego and Cercacor is attached as Exhibit A to Apple’s
          10     Motion to Dismiss (ECF 16-3).           Apple denies the remaining allegations and
          11     characterizations in paragraph 287 of the 4AC.
          12            288. To the extent paragraph 288 of the 4AC implicates legal conclusions, no
          13     response is required. To the extent that a response is required, Apple denies the
          14     allegations and characterizations in paragraph 288 of the 4AC.
          15            289. Paragraphs 1–50 of Apple’s Answer are incorporated by reference as if set
          16     forth in full herein; Apple repeats and incorporates its Answer to paragraphs 1–50 of the
          17     4AC.
          18            290. To the extent paragraph 290 of the 4AC implicates legal conclusions, no
          19     response is required. Apple admits that the first page of U.S. Patent No. 10,219,754 lists
          20     Marcelo Lamego as an inventor and is presently recorded as owned by Apple. Apple
          21     denies the remaining allegations and characterizations in paragraph 290 of the 4AC.
          22            291. To the extent paragraph 291 of the 4AC implicates legal conclusions, no
          23     response is required. To the extent that a response is required, Apple admits that the
          24     first claim of U.S. Patent No. 10,219,754 reads as follows:
          25            A method for estimating physiological parameters when modulated light
          26            from a first light source and a second light source is emitted toward a body
          27            part of a user, the method comprising: determining a first multiplier value
          28            by: turning on the first light source; generating a first initial signal in

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            1         response to capturing a first light sample corresponding to the first light
            2         source; demodulating the first initial signal to produce first initial
            3         demodulated signals; filtering and decimating the first initial demodulated
            4         signals; and determining the first multiplier value based on the filtered and
            5         decimated first initial demodulated signals; determining a second multiplier
            6         value by: turning on the second light source; generating a second initial
            7         signal in response to capturing a second light sample corresponding to the
            8         second light source; demodulating the second initial signal to produce
            9         second initial demodulated signals; filtering and decimating the second
          10          initial demodulated signals; and determining the second multiplier value
          11          based on the filtered and decimated second initial demodulated signals;
          12          capturing multiple light samples while the first light source and the second
          13          light source are turned on to emit modulated light toward the body part of
          14          the user and converting the multiple light samples into a captured signal;
          15          demodulating the captured signal to produce multiple demodulated signals;
          16          performing a first decimation stage by: low pass filtering each demodulated
          17          signal; and decimating each demodulated signal; performing a second
          18          decimation stage after the first decimation stage by: low pass filtering each
          19          demodulated     signal;   and    decimating     each    demodulated     signal;
          20          demultiplexing each demodulated signal after the second decimation stage
          21          to produce a first signal associated with the first light source and a second
          22          signal associated with the second light source; multiplying the first signal
          23          by the first multiplier value using a first multiplier circuit to obtain a first
          24          conditioned signal; multiplying the second signal by the second multiplier
          25          value using a second multiplier circuit to obtain a second conditioned
          26          signal; and analyzing the first conditioned signal and the second
          27          conditioned signal to estimate the physiological parameter of the user.
          28

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            1    Apple denies the remaining allegations and characterizations in paragraph 291 of the
            2    4AC.
            3           292. To the extent paragraph 292 of the 4AC implicates legal conclusions, no
            4    response is required. To the extent that a response is required, Apple lacks knowledge
            5    or information sufficient to form a belief as to the truth of the allegations and
            6    characterizations in paragraph 292 of the 4AC, and therefore Apple denies them.
            7           293. To the extent paragraph 293 of the 4AC implicates legal conclusions, no
            8    response is required. To the extent that a response is required, Apple lacks knowledge
            9    or information sufficient to form a belief as to the truth of the allegations and
          10     characterizations in paragraph 293 of the 4AC, and therefore Apple denies them.
          11            294. To the extent paragraph 294 of the 4AC implicates legal conclusions, no
          12     response is required. To the extent that a response is required, Apple admits that an
          13     agreement between Marcelo Lamego and Cercacor is attached as Exhibit A to Apple’s
          14     Motion to Dismiss (ECF 16-3).          Apple denies the remaining allegations and
          15     characterizations in paragraph 294 of the 4AC.
          16            295. To the extent paragraph 295 of the 4AC implicates legal conclusions, no
          17     response is required. To the extent that a response is required, Apple denies the
          18     allegations and characterizations in paragraph 295 of the 4AC.
          19            296. Paragraphs 1–50 of Apple’s Answer are incorporated by reference as if set
          20     forth in full herein; Apple repeats and incorporates its Answer to paragraphs 1–50 of the
          21     4AC.
          22            297. Apple admits that the first page of U.S. Patent No. 9,723,997 lists Marcelo
          23     Lamego as an inventor and is presently recorded as owned by Apple.
          24            298. To the extent paragraph 298 of the 4AC implicates legal conclusions, no
          25     response is required. To the extent that a response is required, Apple admits that the
          26     twentieth claim of U.S. Patent No. 9,723,997 reads as follows:
          27            A method for using a mobile personal computing device to obtain health
          28            data, comprising: using a camera and a proximity sensor to emit light into

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            1           a body part of a user touching a surface of the mobile personal computing
            2           device; using at least two of the camera, an ambient light sensor, or the
            3           proximity sensor to receive at least part of the emitted light reflected by the
            4           body part of the user and generate sensor data; and computing health data
            5           of the user, utilizing the processing unit, using at least the sensor data
            6           regarding the received light.
            7    Apple denies the remaining allegations and characterizations in paragraph 298 of the
            8    4AC.
            9           299. To the extent paragraph 299 of the 4AC implicates legal conclusions, no
          10     response is required. To the extent that a response is required, Apple lacks knowledge
          11     or information sufficient to form a belief as to the truth of the allegations and
          12     characterizations in paragraph 299 of the 4AC, and therefore Apple denies them.
          13            300. To the extent paragraph 300 of the 4AC implicates legal conclusions, no
          14     response is required. To the extent that a response is required, Apple lacks knowledge
          15     or information sufficient to form a belief as to the truth of the allegations and
          16     characterizations in paragraph 300 of the 4AC, and therefore Apple denies them.
          17            301. To the extent paragraph 301 of the 4AC implicates legal conclusions, no
          18     response is required. To the extent that a response is required, Apple admits that an
          19     agreement between Marcelo Lamego and Cercacor is attached as Exhibit A to Apple’s
          20     Motion to Dismiss (ECF 16-3).            Apple denies the remaining allegations and
          21     characterizations in paragraph 301 of the 4AC.
          22            302. To the extent paragraph 302 of the 4AC implicates legal conclusions, no
          23     response is required. To the extent that a response is required, Apple denies the
          24     allegations and characterizations in paragraph 302 of the 4AC.
          25            303. Paragraphs 1–50 of Apple’s Answer are incorporated by reference as if set
          26     forth in full herein; Apple repeats and incorporates its Answer to paragraphs 1–50 of the
          27     4AC.
          28

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            1           304. Apple admits that the first page of U.S. Patent No. 10,524,671 lists Marcelo
            2    Lamego as an inventor and is presently recorded as owned by Apple.
            3           305. To the extent paragraph 305 of the 4AC implicates legal conclusions, no
            4    response is required. To the extent that a response is required, Apple admits that the
            5    first claim of U.S. Patent No. 10,524,671 reads as follows:
            6           A wearable device, comprising: a first light source; a second light source,
            7           the second light source operating at a different wavelength than the first
            8           light source; at least one light receiver; and a processing unit communicably
            9           coupled to the first light source, the second light source, and the at least one
          10            light receiver; wherein the processing unit is configured to: use the first
          11            light source and the second light source to emit light into a body part of a
          12            user; and dependent on the light emitted by the first light source and
          13            received by the at least one light receiver, compute a pulse rate of the user
          14            using the light emitted by the second light source and received by the at
          15            least one light receiver.
          16     Apple denies the remaining allegations and characterizations in paragraph 305 of the
          17     4AC.
          18            306. To the extent paragraph 306 of the 4AC implicates legal conclusions, no
          19     response is required. To the extent that a response is required, Apple lacks knowledge
          20     or information sufficient to form a belief as to the truth of the allegations and
          21     characterizations in paragraph 306 of the 4AC, and therefore Apple denies them.
          22            307. To the extent paragraph 307 of the 4AC implicates legal conclusions, no
          23     response is required. To the extent that a response is required, Apple lacks knowledge
          24     or information sufficient to form a belief as to the truth of the allegations and
          25     characterizations in paragraph 307 of the 4AC, and therefore Apple denies them.
          26            308. To the extent paragraph 308 of the 4AC implicates legal conclusions, no
          27     response is required. To the extent that a response is required, Apple admits that an
          28     agreement between Marcelo Lamego and Cercacor is attached as Exhibit A to Apple’s

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            1    Motion to Dismiss (ECF 16-3).             Apple denies the remaining allegations and
            2    characterizations in paragraph 308 of the 4AC.
            3           309. To the extent paragraph 309 of the 4AC implicates legal conclusions, no
            4    response is required. To the extent that a response is required, Apple denies the
            5    allegations and characterizations in paragraph 309 of the 4AC.
            6           310. Paragraphs 1–50 of Apple’s Answer are incorporated by reference as if set
            7    forth in full herein; Apple repeats and incorporates its Answer to paragraphs 1–50 of the
            8    4AC.
            9           311. Apple admits that U.S. Patent 10,078,052 is presently recorded as owned
          10     by Apple.
          11            312. To the extent paragraph 312 of the 4AC implicates legal conclusions, no
          12     response is required. To the extent that a response is required, Apple admits that the
          13     first claim of U.S. Patent No. 10,078,052 reads as follows:
          14            An electronic device comprising: a housing defining an aperture; an optical
          15            sensing system comprising: a light emitter for emitting light through the
          16            aperture, the light emitter positioned adjacent the aperture; and a light
          17            detector for obtaining a first portion of the light after the first portion of the
          18            light reflects from an object; and a reflector disposed about the aperture and
          19            adapted to reflect a second portion of the light back into the object after the
          20            second portion of the light reflects from the object.
          21     Apple denies the remaining allegations and characterizations in paragraph 312 of the
          22     4AC.
          23            313. To the extent paragraph 313 of the 4AC implicates legal conclusions, no
          24     response is required. To the extent that a response is required, Apple denies the
          25     allegations and characterizations in paragraph 313 of the 4AC.
          26            314. To the extent paragraph 314 of the 4AC implicates legal conclusions, no
          27     response is required. To the extent that a response is required, Apple lacks knowledge
          28

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            1    or information sufficient to form a belief as to the truth of the allegations and
            2    characterizations in paragraph 314 of the 4AC, and therefore Apple denies them.
            3           315. To the extent paragraph 315 of the 4AC implicates legal conclusions, no
            4    response is required. To the extent that a response is required, Apple lacks knowledge
            5    or information sufficient to form a belief as to the truth of the allegations and
            6    characterizations in paragraph 315 of the 4AC, and therefore Apple denies them.
            7           316. To the extent paragraph 316 of the 4AC implicates legal conclusions, no
            8    response is required. To the extent that a response is required, Apple admits that an
            9    agreement between Marcelo Lamego and Cercacor is attached as Exhibit A to Apple’s
          10     Motion to Dismiss (ECF 16-3).           Apple denies the remaining allegations and
          11     characterizations in paragraph 316 of the 4AC.
          12            317. To the extent paragraph 317 of the 4AC implicates legal conclusions, no
          13     response is required. To the extent that a response is required, Apple denies the
          14     allegations and characterizations in paragraph 317 of the 4AC.
          15            318. Paragraphs 1–50 of Apple’s Answer are incorporated by reference as if set
          16     forth in full herein; Apple repeats and incorporates its Answer to paragraphs 1–50 of the
          17     4AC.
          18            319. Apple admits that U.S. Patent 10,247,670 is presently recorded as owned
          19     by Apple.
          20            320. To the extent paragraph 320 of the 4AC implicates legal conclusions, no
          21     response is required. To the extent that a response is required, Apple admits that the
          22     first claim of U.S. Patent No. 10,247,670 reads as follows:
          23            An electronic device comprising: a housing with a surface; a reflective layer
          24            that is formed on the surface, wherein the reflective layer has first and
          25            second openings; a light emitter that emits light through the first opening;
          26            and a light detector that receives the light emitted by the light emitter
          27            through the second opening.
          28

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            1    Apple denies the remaining allegations and characterizations in paragraph 320 of the
            2    4AC.
            3           321. To the extent paragraph 321 of the 4AC implicates legal conclusions, no
            4    response is required. To the extent that a response is required, Apple lacks knowledge
            5    or information sufficient to form a belief as to the truth of the allegations and
            6    characterizations in paragraph 321 of the 4AC, and therefore Apple denies them.
            7           322. To the extent paragraph 322 of the 4AC implicates legal conclusions, no
            8    response is required. To the extent that a response is required, Apple lacks knowledge
            9    or information sufficient to form a belief as to the truth of the allegations and
          10     characterizations in paragraph 322 of the 4AC, and therefore Apple denies them.
          11            323. To the extent paragraph 323 of the 4AC implicates legal conclusions, no
          12     response is required. To the extent that a response is required, Apple lacks knowledge
          13     or information sufficient to form a belief as to the truth of the allegations and
          14     characterizations in paragraph 323 of the 4AC, and therefore Apple denies them.
          15            324. To the extent paragraph 324 of the 4AC implicates legal conclusions, no
          16     response is required. To the extent that a response is required, Apple admits that an
          17     agreement between Marcelo Lamego and Cercacor is attached as Exhibit A to Apple’s
          18     Motion to Dismiss (ECF 16-3).          Apple denies the remaining allegations and
          19     characterizations in paragraph 324 of the 4AC.
          20            325. To the extent paragraph 325 of the 4AC implicates legal conclusions, no
          21     response is required. To the extent that a response is required, Apple denies the
          22     allegations and characterizations in paragraph 325 of the 4AC.
          23            326. Paragraphs 1–50 of Apple’s Answer are incorporated by reference as if set
          24     forth in full herein; Apple repeats and incorporates its Answer to paragraphs 1–50 of the
          25     4AC.
          26            327. Apple admits that U.S. Patent 9,952,095 is presently recorded as owned by
          27     Apple.
          28

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            1           328. To the extent paragraph 328 of the 4AC implicates legal conclusions, no
            2    response is required. To the extent that a response is required, Apple admits that the
            3    first claim of U.S. Patent No. 9,952,095 reads as follows:
            4           An electronic device comprising: housing comprising a surface adapted to
            5           be positioned proximate a measurement site of a subject; a biometric sensor
            6           positioned at least partially within the surface and comprising: a plurality
            7           of light sources for emitting light toward the measurement site at a selected
            8           modulation frequency; and an optical sensor for obtaining light exiting the
            9           measurement site; and an input amplifier coupled to the output of the
          10            biometric sensor and disposed within the housing; a high pass filter coupled
          11            to an output of the input amplifier and disposed within the housing, the high
          12            pass filter having a cutoff frequency above that of a periodic biometric
          13            property of the measurement site; an output amplifier coupled to an output
          14            of the high pass filter and disposed within the Housing; and an analog to
          15            digital converter coupled to an output of the output amplifier and disposed
          16            within the housing.
          17     Apple denies the remaining allegations and characterizations in paragraph 328 of the
          18     4AC.
          19            329. To the extent paragraph 329 of the 4AC implicates legal conclusions, no
          20     response is required. To the extent that a response is required, Apple lacks knowledge
          21     or information sufficient to form a belief as to the truth of the allegations and
          22     characterizations in paragraph 329 of the 4AC, and therefore Apple denies them.
          23            330. To the extent paragraph 330 of the 4AC implicates legal conclusions, no
          24     response is required. To the extent that a response is required, Apple lacks knowledge
          25     or information sufficient to form a belief as to the truth of the allegations and
          26     characterizations in paragraph 330 of the 4AC, and therefore Apple denies them.
          27            331. To the extent paragraph 331 of the 4AC implicates legal conclusions, no
          28     response is required. To the extent that a response is required, Apple lacks knowledge

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            1    or information sufficient to form a belief as to the truth of the allegations and
            2    characterizations in paragraph 331 of the 4AC, and therefore Apple denies them.
            3           332. To the extent paragraph 332 of the 4AC implicates legal conclusions, no
            4    response is required. To the extent that a response is required, Apple admits that an
            5    agreement between Marcelo Lamego and Cercacor is attached as Exhibit A to Apple’s
            6    Motion to Dismiss (ECF 16-3).           Apple denies the remaining allegations and
            7    characterizations in paragraph 332 of the 4AC.
            8           333. To the extent paragraph 333 of the 4AC implicates legal conclusions, no
            9    response is required. To the extent that a response is required, Apple denies the
          10     allegations and characterizations in paragraph 333 of the 4AC.
          11            334. Paragraphs 1–50 of Apple’s Answer are incorporated by reference as if set
          12     forth in full herein; Apple repeats and incorporates its Answer to paragraphs 1–50 of the
          13     4AC.
          14            335. Apple admits that U.S. Patent 10,219,754 is presently recorded as owned
          15     by Apple.
          16            336. To the extent paragraph 336 of the 4AC implicates legal conclusions, no
          17     response is required. To the extent that a response is required, Apple admits that the
          18     first claim of U.S. Patent No. 10,219,754 reads as follows:
          19            A method for estimating physiological parameters when modulated light
          20            from a first light source and a second light source is emitted toward a body
          21            part of a user, the method comprising: determining a first multiplier value
          22            by: turning on the first light source; generating a first initial signal in
          23            response to capturing a first light sample corresponding to the first light
          24            source; demodulating the first initial signal to produce first initial
          25            demodulated signals; filtering and decimating the first initial demodulated
          26            signals; and determining the first multiplier value based on the filtered and
          27            decimated first initial demodulated signals; determining a second multiplier
          28            value by: turning on the second light source; generating a second initial

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            1           signal in response to capturing a second light sample corresponding to the
            2           second light source; demodulating the second initial signal to produce
            3           second initial demodulated signals; filtering and decimating the second
            4           initial demodulated signals; and determining the second multiplier value
            5           based on the filtered and decimated second initial demodulated signals;
            6           capturing multiple light samples while the first light source and the second
            7           light source are turned on to emit modulated light toward the body part of
            8           the user and converting the multiple light samples into a captured signal;
            9           demodulating the captured signal to produce multiple demodulated signals;
          10            performing a first decimation stage by: low pass filtering each demodulated
          11            signal; and decimating each demodulated signal; performing a second
          12            decimation stage after the first decimation stage by: low pass filtering each
          13            demodulated     signal;   and    decimating     each    demodulated     signal;
          14            demultiplexing each demodulated signal after the second decimation stage
          15            to produce a first signal associated with the first light source and a second
          16            signal associated with the second light source; multiplying the first signal
          17            by the first multiplier value using a first multiplier circuit to obtain a first
          18            conditioned signal; multiplying the second signal by the second multiplier
          19            value using a second multiplier circuit to obtain a second conditioned
          20            signal; and analyzing the first conditioned signal and the second
          21            conditioned signal to estimate the physiological parameter of the user.
          22     Apple denies the remaining allegations and characterizations in paragraph 336 of the
          23     4AC.
          24            337. To the extent paragraph 337 of the 4AC implicates legal conclusions, no
          25     response is required. To the extent that a response is required, Apple lacks knowledge
          26     or information sufficient to form a belief as to the truth of the allegations and
          27     characterizations in paragraph 337 of the 4AC, and therefore Apple denies them.
          28

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            1           338. To the extent paragraph 338 of the 4AC implicates legal conclusions, no
            2    response is required. To the extent that a response is required, Apple lacks knowledge
            3    or information sufficient to form a belief as to the truth of the allegations and
            4    characterizations in paragraph 338 of the 4AC, and therefore Apple denies them.
            5           339. To the extent paragraph 339 of the 4AC implicates legal conclusions, no
            6    response is required. To the extent that a response is required, Apple lacks knowledge
            7    or information sufficient to form a belief as to the truth of the allegations and
            8    characterizations in paragraph 339 of the 4AC, and therefore Apple denies them.
            9           340. To the extent paragraph 340 of the 4AC implicates legal conclusions, no
          10     response is required. To the extent that a response is required, Apple admits that an
          11     agreement between Marcelo Lamego and Cercacor is attached as Exhibit A to Apple’s
          12     Motion to Dismiss (ECF 16-3).          Apple denies the remaining allegations and
          13     characterizations in paragraph 340 of the 4AC.
          14            341. To the extent paragraph 341 of the 4AC implicates legal conclusions, no
          15     response is required. To the extent that a response is required, Apple denies the
          16     allegations and characterizations in paragraph 341 of the 4AC.
          17            342. Paragraphs 1–50 of Apple’s Answer are incorporated by reference as if set
          18     forth in full herein; Apple repeats and incorporates its Answer to paragraphs 1–50 of the
          19     4AC.
          20            343. Apple admits that U.S. Patent 10,524,671 is presently recorded as owned
          21     by Apple.
          22            344. To the extent paragraph 344 of the 4AC implicates legal conclusions, no
          23     response is required. To the extent that a response is required, Apple admits that the
          24     twentieth claim of U.S. Patent No. 9,723,997 reads as follows:
          25            A method for using a mobile personal computing device to obtain health
          26            data, comprising: using a camera and a proximity sensor to emit light into
          27            a body part of a user touching a surface of the mobile personal computing
          28            device; using at least two of the camera, an ambient light sensor, or the

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            1           proximity sensor to receive at least part of the emitted light reflected by the
            2           body part of the user and generate sensor data; and computing health data
            3           of the user, utilizing the processing unit, using at least the sensor data
            4           regarding the received light.
            5    Apple denies the remaining allegations and characterizations in paragraph 344 of the
            6    4AC.
            7           345. To the extent paragraph 345 of the 4AC implicates legal conclusions, no
            8    response is required. To the extent that a response is required, Apple lacks knowledge
            9    or information sufficient to form a belief as to the truth of the allegations and
          10     characterizations in paragraph 345 of the 4AC, and therefore Apple denies them.
          11            346. To the extent paragraph 346 of the 4AC implicates legal conclusions, no
          12     response is required. To the extent that a response is required, Apple lacks knowledge
          13     or information sufficient to form a belief as to the truth of the allegations and
          14     characterizations in paragraph 346 of the 4AC, and therefore Apple denies them.
          15            347. To the extent paragraph 347 of the 4AC implicates legal conclusions, no
          16     response is required. To the extent that a response is required, Apple lacks knowledge
          17     or information sufficient to form a belief as to the truth of the allegations and
          18     characterizations in paragraph 347 of the 4AC, and therefore Apple denies them.
          19            348. To the extent paragraph 348 of the 4AC implicates legal conclusions, no
          20     response is required. To the extent that a response is required, Apple lacks knowledge
          21     or information sufficient to form a belief as to the truth of the allegations and
          22     characterizations in paragraph 348 of the 4AC, and therefore Apple denies them.
          23            349. To the extent paragraph 349 of the 4AC implicates legal conclusions, no
          24     response is required. To the extent that a response is required, Apple denies the
          25     allegations and characterizations in paragraph 349 of the 4AC.
          26            350. Paragraphs 1–50 of Apple’s Answer are incorporated by reference as if set
          27     forth in full herein; Apple repeats and incorporates its Answer to paragraphs 1–50 of the
          28     4AC.

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            1           351. Apple admits that U.S. Patent 10,524,671 is presently recorded as owned
            2    by Apple.
            3           352. To the extent paragraph 352 of the 4AC implicates legal conclusions, no
            4    response is required. To the extent that a response is required, Apple admits that the
            5    first claim of U.S. Patent No. 10,524,671 reads as follows:
            6           A wearable device, comprising: a first light source; a second light source,
            7           the second light source operating at a different wavelength than the first
            8           light source; at least one light receiver; and a processing unit communicably
            9           coupled to the first light source, the second light source, and the at least one
          10            light receiver; wherein the processing unit is configured to: use the first
          11            light source and the second light source to emit light into a body part of a
          12            user; and dependent on the light emitted by the first light source and
          13            received by the at least one light receiver, compute a pulse rate of the user
          14            using the light emitted by the second light source and received by the at
          15            least one light receiver.
          16     Apple denies the remaining allegations and characterizations in paragraph 352 of the
          17     4AC.
          18            353. To the extent paragraph 353 of the 4AC implicates legal conclusions, no
          19     response is required. To the extent that a response is required, Apple lacks knowledge
          20     or information sufficient to form a belief as to the truth of the allegations and
          21     characterizations in paragraph 353 of the 4AC, and therefore Apple denies them.
          22            354. To the extent paragraph 354 of the 4AC implicates legal conclusions, no
          23     response is required. To the extent that a response is required, Apple lacks knowledge
          24     or information sufficient to form a belief as to the truth of the allegations and
          25     characterizations in paragraph 354 of the 4AC, and therefore Apple denies them.
          26            355. To the extent paragraph 355 of the 4AC implicates legal conclusions, no
          27     response is required. To the extent that a response is required, Apple lacks knowledge
          28

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            1    or information sufficient to form a belief as to the truth of the allegations and
            2    characterizations in paragraph 355 of the 4AC, and therefore Apple denies them.
            3           356. To the extent paragraph 356 of the 4AC implicates legal conclusions, no
            4    response is required. To the extent that a response is required, Apple admits that an
            5    agreement between Marcelo Lamego and Cercacor is attached as Exhibit A to Apple’s
            6    Motion to Dismiss (ECF 16-3). Apple lacks knowledge or information sufficient to form
            7    a belief as to the truth of the remaining allegations and characterizations in paragraph
            8    356 of the 4AC, and therefore Apple denies them.
            9           357. To the extent paragraph 357 of the 4AC implicates legal conclusions, no
          10     response is required. To the extent that a response is required, Apple denies the
          11     allegations and characterizations in paragraph 357 of the 4AC.
          12            358. Paragraphs 1–50 of Apple’s Answer are incorporated by reference as if set
          13     forth in full herein; Apple repeats and incorporates its Answer to paragraphs 1–50 of the
          14     4AC.
          15            359. Apple admits that U.S. Patent 15/960,507 is presently recorded as owned
          16     by Apple.
          17            360. To the extent paragraph 360 of the 4AC implicates legal conclusions, no
          18     response is required. To the extent that a response is required, Apple admits that the
          19     twenty-first claim of U.S. Patent No. 15/960,507 reads as follows:
          20            A biometric sensor within a housing of a wearable electronic device, the
          21            biometric sensor comprising: an emitter for transmitting modulated light
          22            toward a measurement site of a subject through a first aperture in the
          23            housing; an optical sensor for receiving modulated light through a second
          24            aperture in the housing, the modulated light at least partially exiting the
          25            measurement site; a high pass filter to receive an output of the optical
          26            sensor, the high pass filter having a cutoff frequency above a frequency of
          27            a periodic optical property of the measurement site; and an analog to digital
          28            converter to receive an output of the high pass filter.

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            1    Apple denies the remaining allegations and characterizations in paragraph 360 of the
            2    4AC.
            3           361. To the extent paragraph 361 of the 4AC implicates legal conclusions, no
            4    response is required. To the extent that a response is required, Apple lacks knowledge
            5    or information sufficient to form a belief as to the truth of the allegations and
            6    characterizations in paragraph 361 of the 4AC, and therefore Apple denies them.
            7           362. To the extent paragraph 362 of the 4AC implicates legal conclusions, no
            8    response is required. To the extent that a response is required, Apple lacks knowledge
            9    or information sufficient to form a belief as to the truth of the allegations and
          10     characterizations in paragraph 362 of the 4AC, and therefore Apple denies them.
          11            363. To the extent paragraph 363 of the 4AC implicates legal conclusions, no
          12     response is required. To the extent that a response is required, Apple admits that an
          13     agreement between Marcelo Lamego and Cercacor is attached as Exhibit A to Apple’s
          14     Motion to Dismiss (ECF 16-3). Apple lacks knowledge or information sufficient to form
          15     a belief as to the truth of the remaining allegations and characterizations in paragraph
          16     363 of the 4AC, and therefore Apple denies them.
          17            364. To the extent paragraph 364 of the 4AC implicates legal conclusions, no
          18     response is required. To the extent that a response is required, Apple denies the
          19     allegations and characterizations in paragraph 364 of the 4AC.
          20            365. Paragraphs 1–50 of Apple’s Answer are incorporated by reference as if set
          21     forth in full herein; Apple repeats and incorporates its Answer to paragraphs 1–50 of the
          22     4AC.
          23            366. Apple admits that U.S. Patent 16/700,710 is presently recorded as owned
          24     by Apple.
          25            367. To the extent paragraph 367 of the 4AC implicates legal conclusions, no
          26     response is required. To the extent that a response is required, Apple admits that the
          27     fifteenth claim of U.S. Patent No. 16/700,710 reads as follows:
          28

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            1           [A] wearable device, comprising: a first light source that operates at a first
            2           wavelength; a second light source that operates at a second wavelength; at
            3           least one light receiver; and a processing unit that is configured to, upon
            4           detection of an object using light of the first wavelength received by the at
            5           least one light receiver, use light of the second wavelength received by the
            6           at least one light receiver to determine health data for a user.
            7    Apple denies the remaining allegations and characterizations in paragraph 367 of the
            8    4AC.
            9           368. To the extent paragraph 368 of the 4AC implicates legal conclusions, no
          10     response is required. To the extent that a response is required, Apple lacks knowledge
          11     or information sufficient to form a belief as to the truth of the allegations and
          12     characterizations in paragraph 368 of the 4AC, and therefore Apple denies them.
          13            369. To the extent paragraph 369 of the 4AC implicates legal conclusions, no
          14     response is required. To the extent that a response is required, Apple lacks knowledge
          15     or information sufficient to form a belief as to the truth of the allegations and
          16     characterizations in paragraph 369 of the 4AC, and therefore Apple denies them.
          17            370. To the extent paragraph 370 of the 4AC implicates legal conclusions, no
          18     response is required. To the extent that a response is required, Apple admits that an
          19     agreement between Marcelo Lamego and Cercacor is attached as Exhibit A to Apple’s
          20     Motion to Dismiss (ECF 16-3). Apple lacks knowledge or information sufficient to form
          21     a belief as to the truth of the remaining allegations and characterizations in paragraph
          22     370 of the 4AC, and therefore Apple denies them.
          23            371. To the extent paragraph 371 of the 4AC implicates legal conclusions, no
          24     response is required. To the extent that a response is required, Apple denies the
          25     allegations and characterizations in paragraph 371 of the 4AC.
          26                                     PRAYER FOR RELIEF
          27            The section of the 4AC titled “Prayer for Relief” sets forth the statement of relief
          28     requested by Plaintiffs to which no response is required. Apple denies that Plaintiffs are

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            1    entitled to any relief against Apple, and requests that the Court dismiss all claims with
            2    prejudice and order such further relief as the Court deems just and proper.
            3                                DEMAND FOR JURY TRIAL
            4          This paragraph sets forth Plaintiffs’ demand for jury trial to which no response is
            5    required.
            6                                 AFFIRMATIVE DEFENSES
            7          Apple asserts the following affirmative defenses, without assuming the burden of
            8    proving any fact, issue, or element of a claim where such burden properly belongs to
            9    Plaintiffs. In addition to the affirmative defenses described below, Apple specifically
          10     reserves all rights to assert additional affirmative defenses as additional information
          11     becomes available. Pursuant to Federal Rule of Civil Procedure 8(c), Apple, without
          12     waiver, limitation, or prejudice, hereby asserts the following affirmative defenses:
          13                              FIRST AFFIRMATIVE DEFENSE
          14           372. Apple has not directly infringed, induced infringement, or contributed to
          15     infringement, and does not directly infringe, induce infringement, or contribute to
          16     infringement, of any valid and enforceable claim of the Asserted Patents, either literally
          17     or under the Doctrine of Equivalents, and has not otherwise committed any acts in
          18     violation of 35 U.S.C. § 271.
          19                             SECOND AFFIRMATIVE DEFENSE
          20           373. Each asserted claim of the Asserted Patents is invalid for failure to comply
          21     with the requirements of 35 U.S.C. §§ 101, 102, 103, 112, and/or any other applicable
          22     statutory provisions of Title 35 of the United States Code.
          23                              THIRD AFFIRMATIVE DEFENSE
          24           374. Plaintiffs’ patent infringement claims are barred, in whole or in part, by
          25     reason of estoppel, the dedication-disclosure rule, and/or the other legal doctrines
          26     limiting the scope of the claims and their equivalents.
          27           375. Plaintiffs are estopped from construing any valid claim of the Asserted
          28     Patents to be infringed or to have been infringed, either literally or by application of the

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            1    Doctrine of Equivalents, by any product made, used, imported, sold, or offered for sale
            2    by Apple in view of prior art and/or because of admissions, representations, and/or
            3    statements made to the Patent Office during prosecution of any application leading to
            4    the issuance of the Asserted Patents or any related patent, because of disclosures or
            5    language in the specifications of the Asserted Patents, and/or because of limitations in
            6    the claims of the Asserted Patents.
            7                            FOURTH AFFIRMATIVE DEFENSE
            8          376. To the extent that Plaintiffs and/or any predecessors in interest or any
            9    licensees to the Asserted Patents failed to properly mark any of their relevant products
          10     or materials as required by 35 U.S.C. § 287, or otherwise failed to give proper notice
          11     that Apple’s actions allegedly infringe the Asserted Patents, Apple is not liable to
          12     Plaintiffs for the acts alleged to have been performed before Apple received actual notice
          13     that the accused devices were allegedly infringing the Asserted Patents.
          14           377. Plaintiffs’ claims for relief are further barred, in whole or in part, under 35
          15     U.S.C. §§ 286 and 288.
          16           378. Plaintiffs failed to give proper notice to Apple of its claims under the patent
          17     laws of the United States and have failed to establish any basis for damages and/or
          18     liability prior to patent issuance.
          19                               FIFTH AFFIRMATIVE DEFENSE
          20           379. Plaintiffs’ non-patent infringement claims are barred, in whole or in part,
          21     by the equitable doctrine of laches.
          22           380. Based on information and belief, including because Masimo disclosed in
          23     its Form 10-K for the fiscal year ended January 3, 2015 that it “search[es] for existing
          24     intellectual property rights,” Plaintiffs have been aware of Apple’s publication of subject
          25     matter related to the subject matter of U.S. Patent Nos. 10,078,052; 10,247,670;
          26     9,952,095; 10,219,754; 9,723,997; and 10,524,671, and U.S. Patent Application No.
          27     15/960,507 since as early as 2016, yet only brought claims for ownership and correction
          28     of inventorship in January 2020. For example, Plaintiffs were aware of several of these

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            1    patents because Plaintiffs cited the patents to the PTO in conjunction with their own
            2    patent applications, yet Plaintiffs did not file suit until January 2020:
            3        U.S. Patent Application No. 14/740,196, which issued as U.S. Patent No.
            4           10,078,052 (“the ’052 patent”), the subject of Counts 14 and 20 in this action,
            5           was published as U.S. Patent Publication No. 2016/006726 on March 3, 2016.
            6           Plaintiffs cited the ’052 patent in four separate Information Disclosure Statements
            7           (“IDSs”) to the PTO (three in 2018 and one in 2019). See ECF 288, Ex. N at 175,
            8           Ex. O at 203, Ex. P at 240, Ex. Q at 255.
            9        U.S. Patent Application No. 14/617,422 was issued on August 8, 2017 as U.S.
          10            Patent No. 9,723,997 (“the ’997 patent”), the subject of Counts 18 and 24 in this
          11            action. Plaintiffs cited the ’997 patent in three separate IDSs to the PTO in 2018.
          12            See ECF 288, Ex. N at 174, Ex. O at 203, Ex. P at 240.
          13         U.S. Patent Application No. 14/618,664 was issued on April 24, 2018 as U.S.
          14            Patent 9,952,095 (“the ’095 patent”), the subject of Counts 16 and 22 in this
          15            action. Plaintiffs cited the ’095 patent in three separate IDSs to the PTO in 2018.
          16            See ECF 288, Ex. N at 175, Ex. O at 203, Ex. P at 240.
          17         U.S. Patent Application No. 14/740,196, which issued as U.S. Patent 10,247,670
          18            (“the ’670 patent”), the subject of Counts 15 and 21 in this action, was published
          19            as U.S. Patent Publication No. 2018/0364162 on December 20, 2018. Plaintiffs
          20            cited the ’670 patent in an IDS to the PTO in 2019. See ECF 288-2, Ex. Q at 255.
          21           381. Plaintiffs also were on notice of their trade secret misappropriation claim
          22     by 2014, yet only brought a claim for misappropriation in January 2020. Plaintiffs allege
          23     that in 2013, Apple contacted Masimo to understand more about Masimo’s technology,
          24     entered into a confidentiality agreement with Masimo, and had confidential discussions
          25     with Masimo’s management.          Plaintiffs allege that Apple recruited key Masimo
          26     personnel, including O’Reilly, Masimo’s former Chief Medical Officer, and Lamego,
          27     former Cercacor CTO. Plaintiffs allege that O’Reilly and Lamego both had access to
          28     Plaintiffs’ Confidential Information. By January 2014, Plaintiffs were suspicious of

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            1    Apple’s conduct, including Apple’s hiring of Lamego. On January 24, 2014, Plaintiffs
            2    sent Apple a letter explaining that Lamego possessed Plaintiffs’ confidential proprietary
            3    information and “warn[ing] Apple about respecting [Plaintiffs’] rights” in such
            4    information. Plaintiffs stated their concern that “Apple [was] attempting to gain access
            5    to, or at least the benefit of, Cercacor and Masimo’s trade secrets,” and that “Apple
            6    w[ould] employ Mr. Lamego in an area that . . . involve[d] healthcare technology,
            7    including mobile health applications and the measurement of physiological
            8    information.” Yet in the next six years—even after it became public that Lamego did
            9    work for Apple on the same technology to which Plaintiffs’ alleged trade secrets
          10     supposedly relate—Plaintiffs did nothing.
          11           382. Plaintiffs were also on notice of their misappropriation claim by 2016.
          12     Plaintiffs allege that Apple used and disclosed Plaintiffs’ Confidential Information at
          13     least by filing patent applications containing that information. Plaintiffs allege that
          14     shortly after joining Apple in January 2014, Lamego began pursuing, on Apple’s behalf,
          15     numerous patent applications directed toward technologies he worked on at Plaintiffs,
          16     and with which he had no prior experience or knowledge. Plaintiffs knew or should
          17     have known about Lamego’s pursuit of at least one relevant Apple patent application by
          18     at least March 2016: U.S. Patent Application No. 14/740,196 was published as U.S.
          19     Patent Publication No. 2016/0061726 on March 3, 2016, naming Lamego as an inventor
          20     in the field of healthcare technology. The ’726 publication is entitled “Reflective
          21     Surface Treatments For Optical Sensors,” and relates to “electronic . . . optical sensing
          22     systems” that “can be adapted to obtain physiological data from a biological subject.”
          23     Plaintiffs allege that the ’726 publication included technologies with which Lamego was
          24     intimately involved while working at Plaintiffs.
          25           383. Thus, a patent application that (i) referenced healthcare technology on
          26     which Lamego was purportedly prohibited from working because, according to
          27     Plaintiffs, he was incapable of doing so without using their confidential information, and
          28     (ii) named Lamego as inventor, was publicly available more than three years before

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            1    Plaintiffs filed this action. Accordingly, by March 3, 2016, Plaintiffs were on notice to
            2    investigate their trade secret claim, yet they only filed suit in January 2020.
            3                             SIXTH AFFIRMATIVE DEFENSE
            4          384. Apple has not and does not willfully infringe any claim of the Asserted
            5    Patents, nor has Apple willfully or maliciously misappropriated any of Plaintiffs’ alleged
            6    trade secrets.
            7                           SEVENTH AFFIRMATIVE DEFENSE
            8          385. Plaintiffs’ Thirteenth Cause of Action is barred, in whole or in part, by the
            9    applicable statute of limitations. Under California Civil Code § 3426.6, a claim for trade
          10     secret misappropriation “must be brought within three years after the misappropriation
          11     is discovered or by the exercise of reasonable diligence should have been discovered.”
          12           386. Plaintiffs were on notice of their misappropriation claim by 2014. Plaintiffs
          13     allege that in 2013, Apple contacted Masimo to understand more about Masimo’s
          14     technology, entered into a confidentiality agreement with Masimo, and had confidential
          15     discussions with Masimo’s management. Plaintiffs allege that Apple recruited key
          16     Masimo personnel, including O’Reilly, Masimo’s former Chief Medical Officer, and
          17     Lamego, former Cercacor CTO. Plaintiffs allege that O’Reilly and Lamego both had
          18     access to Plaintiffs’ Confidential Information.       By January 2014, Plaintiffs were
          19     suspicious of Apple’s conduct, including Apple’s hiring of Lamego. On January 24,
          20     2014, Plaintiffs sent Apple a letter explaining that Lamego possessed Plaintiffs’
          21     confidential proprietary information and “warn[ing] Apple about respecting [Plaintiffs’]
          22     rights” in such information. ECF 38-5 (January 24, 2014 Letter); see also ECF 60 at 4
          23     (granting judicial notice). Plaintiffs stated their concern that “Apple [was] attempting
          24     to gain access to, or at least the benefit of, Cercacor and Masimo’s trade secrets,” and
          25     that “Apple w[ould] employ Mr. Lamego in an area that . . . involve[d] healthcare
          26     technology, including mobile health applications and the measurement of physiological
          27     information.” ECF 38-5 at 4–5. Yet in the next six years—even after it became public
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            1    that Lamego did work for Apple on the same technology to which Plaintiffs’ alleged
            2    trade secrets supposedly relate—Plaintiffs did nothing.
            3          387. Plaintiffs were also on notice of their misappropriation claim by 2016.
            4    Plaintiffs allege that Apple used and disclosed Plaintiffs’ Confidential Information at
            5    least by filing patent applications containing that information. Plaintiffs allege that
            6    shortly after joining Apple in January 2014, Lamego began pursuing, on Apple’s behalf,
            7    numerous patent applications directed toward technologies he worked on at Plaintiffs,
            8    and with which he had no prior experience or knowledge. Plaintiffs knew or should
            9    have known about Lamego’s pursuit of at least one relevant Apple patent application by
          10     at least March 2016: U.S. Patent Application No. 14/740,196 was published as U.S.
          11     Patent Publication No. 2016/0061726 on March 3, 2016, naming Lamego as an inventor
          12     in the field of healthcare technology. The ’726 publication is entitled “Reflective
          13     Surface Treatments For Optical Sensors,” and relates to “electronic . . . optical sensing
          14     systems” that “can be adapted to obtain physiological data from a biological subject.”
          15     Plaintiffs allege that the ’726 publication included technologies with which Lamego was
          16     intimately involved while working at Plaintiffs.
          17           388. Thus, a patent application that (i) referenced healthcare technology on
          18     which Lamego was purportedly prohibited from working because, according to
          19     Plaintiffs, he was incapable of doing so without using their confidential information, and
          20     (ii) named Lamego as inventor, was publicly available more than three years before
          21     Plaintiffs filed this action. Accordingly, by March 3, 2016, Plaintiffs were on notice to
          22     investigate their trade secret claim, and the limitations period commenced by that date.
          23     Plaintiffs have no explanation for their delay.
          24                             EIGHTH AFFIRMATIVE DEFENSE
          25           389. Plaintiffs cannot prevail against Apple and cannot recover damages, unjust
          26     enrichment, or reasonable royalties, if any, on Plaintiffs’ Thirteenth Cause of Action
          27     because the alleged trade secret information was readily ascertainable by proper means.
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            1    Patents is materially different from any of Plaintiffs’ alleged confidential information,
            2    as discovery in this case will demonstrate. Apple started independently developing the
            3    optical sensor architecture of the Apple Watch since as early as 2012, and Apple’s
            4    engineers independently invented the subject matter of the Disputed Inventor Patents
            5    during the course of that independent development, thus barring Plaintiffs from any
            6    recovery against Apple on their inventorship and ownership claims.
            7                         ELEVENTH AFFIRMATIVE DEFENSE
            8          408. Plaintiffs’ claims are barred, in whole or in part, by the equitable doctrine
            9    of waiver.
          10           409. Plaintiffs waived the ability to make their patent infringement arguments in
          11     view of amendments made during prosecution of the Asserted Patents.
          12           410. In addition, based on information and belief, including because Masimo
          13     disclosed in its Form 10-K for the fiscal year ended January 3, 2015 that it “search[es]
          14     for existing intellectual property rights,” Plaintiffs have been aware of Apple’s
          15     publication of subject matter related to the subject matter of U.S. Patent Nos.
          16     10,078,052; 10,247,670; 9,952,095; 10,219,754; 9,723,997; and 10,524,671 and U.S.
          17     Patent Application No. 15/960,507 since as early as 2016, yet only brought claims for
          18     ownership, correction of inventorship, and trade secret misappropriation in January
          19     2020. Plaintiffs’ conduct was so inconsistent with an intent to enforce their rights that
          20     it induced a reasonable belief that they waived their right. For example, Plaintiffs were
          21     aware of several of these patents because Plaintiffs cited the patents to the PTO in
          22     conjunction with their own patent applications, yet Plaintiffs did not file suit until
          23     January 2020:
          24         U.S. Patent Application No. 14/740,196, which issued as U.S. Patent No.
          25           10,078,052 (“the ’052 patent”), the subject of Counts 14 and 20 in this action,
          26           was published as U.S. Patent Publication No. 2016/006726 on March 3, 2016.
          27           Plaintiffs cited the ’052 patent in four separate IDSs to the PTO (three in 2018
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            1    publicly available documents were intervening and superseding causes of the injuries
            2    and damages, if any, which Plaintiffs claim, thus barring Plaintiffs from any recovery
            3    against Apple.
            4                        THIRTEENTH AFFIRMATIVE DEFENSE
            5          420. To the extent Plaintiffs have suffered any damages, they have failed to take
            6    reasonable steps to mitigate such damages. On information and belief, Plaintiffs have
            7    been aware of Apple’s conduct on which they base Apple’s liability since at least
            8    January 2014, when Plaintiffs allege Apple attempted to misappropriate their alleged
            9    trade secrets, or, alternatively, since at least March 3, 2016, when Apple’s U.S. Patent
          10     Publication No. 2016/0061726, which Plaintiffs allege contains their subject matter,
          11     published. Plaintiffs’ knowledge of such conduct by Apple is evidenced by their citation
          12     of Apple’s patents that they now allege disclose their confidential information to the
          13     U.S. Patent and Trademark Office without any attempt by Plaintiffs to treat such
          14     information as confidential. By failing to take steps earlier to prevent Apple’s conduct
          15     that allegedly disclosed their alleged trade secrets and confidential information,
          16     Plaintiffs have failed to mitigate their damages, if any.
          17                         FOURTEENTH AFFIRMATIVE DEFENSE
          18           421. Plaintiffs’ Thirteenth Cause of Action claim is barred, in whole or in part,
          19     by the equitable doctrine of unclean hands because the Cause of Action is based in part
          20     on Plaintiffs’ actions taken in violation of California Code, Business and Professions
          21     Code § 16600 and Unfair Competition Law, § 17200, et seq., and that are contrary to a
          22     strong public policy.
          23           422. Apple received a letter from Plaintiffs on or around January 24, 2014. ECF
          24     38-5 (January 24, 2014 Letter); see also ECF 60 at 4 (granting judicial notice). The
          25     letter quoted portions of former employee Lamego’s Employee Confidentiality
          26     Agreement with Cercacor and enclosed a copy of the Agreement. ECF 38-5 at 5–9. The
          27     letter stated, based on the terms of Lamego’s Employee Confidentiality Agreement, that
          28     “we trust that Apple will employ Mr. Lamego in an area that does not involve healthcare

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            1    technology, including mobile health applications and the measurement of physiological
            2    information.” Id. at 5. The letter further stated that Plaintiffs found it “difficult to
            3    imagine any reason for [Apple’s conduct in hiring Lamego] other than [that] Apple [was]
            4    attempting to gain access to, or . . . the benefit of, [their] trade secrets.” Id. at 4. The
            5    letter accused Apple of “targeting” Plaintiffs’ “personnel for some time,” and demanded
            6    that Apple not employ Lamego in the field of “healthcare technology,” because doing
            7    so “necessarily [would] involve the use or disclosure of [Cercacor’s] trade secrets.” Id.
            8          423. The January 24, 2014 letter and Plaintiffs’ actions violate California law.
            9    It is illegal for Plaintiffs to demand that Apple not employ Lamego in the field of
          10     “healthcare technology” because doing so “necessarily [would] involve the use or
          11     disclosure of [Cercacor’s] trade secrets.” ECF 38-5 at 5. Plaintiffs are controlling a
          12     former employee’s choice of work (i.e., the area in which the employee may be
          13     employed) based only on the notion that the employee will “inevitably disclose” what
          14     they know.
          15           424. Plaintiffs based their illegal request on portions of Lamego’s Employee
          16     Confidentiality Agreement that are void as a matter of law because they restrain
          17     Lamego’s ability to practice his profession. Specifically, the Agreement purports to
          18     “prohibit[] Lamego, for a period of two years after the end of his employment with
          19     Cercacor, from competing with Cercacor.” Id. at 4.
          20           425. Plaintiffs maintained in the January 24, 2014 letter that such clauses of
          21     Lamego’s Employee Confidentiality Agreement were valid because their purpose was
          22     to protect trade secrets (id.)—but the noncompete clauses in the Agreement are not
          23     narrowly tailored or carefully limited to the protection of trade secrets, but rather are so
          24     broadly worded as to restrain competition and therefore are void. Plaintiffs’ clauses are
          25     not triggered only when the former employee’s services for a competitor implicate the
          26     use of confidential information; rather, they are always triggered unless the former
          27     employee can “prove that the action was taken without the use or disclosure of any of
          28     [Cercacor’s] trade secrets” (id. at 5). These clauses are thus facially void under

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            1    California Code, Business and Professions Code § 16600. Plaintiffs’ use of this illegal
            2    noncompete agreement also violates the Unfair Competition Law, § 17200, et seq.
            3          426. Plaintiffs rely on the January 24, 2014 letter as a basis to charge Apple with
            4    knowledge of their purported trade secrets, as an element of their Thirteenth Cause of
            5    Action. Plaintiffs allege that, because of Plaintiffs’ illegal conduct—sending Apple a
            6    copy of Lamego’s Employee Confidentiality Agreement with Cercacor and demanding
            7    that Apple not employ Lamego in the field of healthcare technology—Apple knew or
            8    had reason to know that its knowledge of Plaintiffs purported trade secrets was derived
            9    from Lamego who owed a duty to Plaintiffs to maintain their secrecy.
          10           427. As a result of Plaintiffs’ illegal conduct, Apple has incurred unnecessary
          11     expenses and has suffered other economic injury associated with Plaintiffs conduct.
          12                  RESERVATION OF ALL AFFIRMATIVE DEFENSES
          13           Apple presently has insufficient knowledge or information to determine whether
          14     it may have additional, as yet unstated defenses.         Apple has not knowingly and
          15     intentionally waived any applicable defenses. Apple hereby gives notice that it intends
          16     to rely upon any other matter constituting an avoidance or affirmative defense as set
          17     forth in Rule 8(c) of the Federal Rules of Civil Procedure, and that it reserves the right
          18     to seek leave to amend this Answer to add to, amend, withdraw, or modify these defenses
          19     as its investigation continues, as discovery may require, and/or if the Court lifts the
          20     current stay of the patent infringement case (ECF 220).
          21                                    JURY TRIAL DEMAND
          22           Apple demands a trial by jury on all issues so triable.
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            1    Dated: May 5, 2021                  Respectfully submitted,
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